  Case: 1:20-cv-00099-SNLJ     Doc. #: 27     Filed: 08/11/21   Page: 1 of 64 PageID #:
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RECEIVE\
BY MA
   AUG 11 2021
                       UNITED STATES DISTRICT COURT
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      5
       J1~f~g~gr10 FOR THE EASTERN DISTRICT OF MISSOURI
  CAPE GIRARDEAU



                                             )
   THE STATE OF MISSOURI, et al.             )
                                             )
                   Plaintiff                 )     CASE NO. 1:20-cv-00099
                                             )
            JEFFREY CUTLER                   )
                                             )
          Intervenor Plaintiff               )
                                             )
                      V.                     )
                                             )
THE PEOPLES REPUBLIC OF CHINA,
             et al.
                                                   WRY TRIAL REQUESTED
               Defendant




    MOTION TO RECONSIDER BECAUSE OF CRIMES (18 U.S.

  Code § 1519 - Destruction, alteration, or falsification of records), 18

  U.S. Code§ 872 - EXTORTION BY OFFICERS OR EMPLOYEES

   OF THE UNITED STATES, 18 U.S.C. § 3 ACCESSORY AFTER

 THE FACT MURDER,BANKRUPTCY FRAUD, 15 U.S.C. §§ 78dd-

  1, & MAIL FRAUD AND TO COMBINE CASES FOR JUDICIAL

              EFFICIENCY AND SUMMARY JUDGEMENT




                                     PAGE 1 of 229
 Case: 1:20-cv-00099-SNLJ        Doc. #: 27     Filed: 08/11/21        Page: 2 of 64 PageID #:
                                              837




 Here comes Jeffrey Cutler, PLAINTIFF-Intervenor in this case based on the United

States Constitution Ammend I , for Redress of Grievances and preservation of the

Establishment Clause, Mr. Cutler files this motion to RECONSIDER, since he was

just served the document at his P.O. BOX in YORK PA on 03AUG2021. Mr.

Cutler filed an AMMENDED EMERGENCY EXPEDITED PETITION FOR

ENBANC HEARING, BECAUSE OF CRIMES (18 U.S. Code § 1519 -

Destruction, alteration, or falsification of records), 18 U.S. Code§ 872 -

EXTORTION BY OFFICERS OR EMPLOYEES OF THE UNITED STATES,

18 U.S.C. § 3 ACCESSORY AFTER THE FACT MURDER, BANKRUPTCY

FRAUD, 15 U.S.C. §§ 78dd-l, & MAIL FRAUD AND TO COMBINE CASES

FOR JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION. Mr. Cutler

files the petition for an AMMENDED ENBANC HEARING because the clerks

office decided not to even put the previous document on the docket and Mr. Bonta

has made statements via twiter that stated

      Rob Bonta @RobBontaJul 15

      Being your Attorney General is new to me, but fighting for crime survivors isn't.

      #ThrowbackThursday to 2014 when my bill, AB 1629, became law and expanded

      services and counseling to survivors of crime across the state

      Ms.Hardtoexplain@gabriela0722Jul 15

      Replying to @RobBonta

      Please investigate Britney Spears case !!! #FreeBritney

This makes Mr. Cutler a party those proceedings and also JILLIAN MIXELL OF

                                         PAGE2 o f 229
  Case: 1:20-cv-00099-SNLJ                          Doc. #: 27            Filed: 08/11/21   Page: 3 of 64 PageID #:
                                                                        838




ERIE INSURANCE participated in a RICCO conspiracy as well as MARK

MURPHY of STATE FARM INSURANCE to deny compensation and

For an insurance claim and is also equally liable for concealling the MURDERS of

600,000 americans and cancelling Mr. Cutler' s Auto Insurance Illegally to protect the

Pennsylvania Attorney General, since it was served after cancellation of the policy.

According to Wikipedia Spears studied Kabbalah, making her a party to this case,

Mr. Bonta made false statements in his previous document (18 U.S.C. § 1001) based

on the tweets he made on 15WL2021 to the public, while Donald J. Trump is Banned

from using Twitter for at least 2 years in violation of securities laws. The vaccine

may deliberately allow persons to be MURDERED and the use of the word

INPLAUSABLE has been deemed to be SUBSTITUTED for TRUTH<ref>

http://mediaarcbives.gsradio.net/renselspecial/ rense 072021 hr2.mp3   </ref>

On 21JUN2021 a 342 page MOTION TO RECONSIDER BECAUSE OF CRIMES

(18 U.S. Code§ 1519 - Destruction, alteration, or falsification of records), 18 U.S.

Code § 872 - EXTORTION BY OFFICERS OR EMPLOYEES OF THE UNITED

STATES, 18 U.S.C. § 3 ACCESSORY AFTER THE FACT

MURDER,BANKRUPTCY FRAUD, 15 U.S.C. §§ 78dd-1 , & MAIL FRAUD AND

TO COMBINE CASES FOR WDICIAL EFFICIENCY AND SUMMARY

JUDGEMENT in CASE NO. 4:21-cv-01774 in the Southern District of Texas . It is

ILLEGAL to SELL DRUGS BEYOND THE PRINTED EXPIRY DATE ON THE




                                                                 PAGE 3 of 229
  Case: 1:20-cv-00099-SNLJ                  Doc. #: 27       Filed: 08/11/21         Page: 4 of 64 PageID #:
                                                           839



LABEL. Per United States of America v. Quality Eggs, LLC, et al.,99 F.Supp. 3d 920

(D. Iowa Apr. 14, 2015). In that document page 167 is time stamped PROOF of a

[[Brady disclosure]] for [[Bill Cosbyl] , on page 324 is time stamped PROOF of

[[Biological warfare]] by the r[People's Republic of China]] and the Murder of

600,000 people in the [[United States]], on page 325 is time stamped PROOF of

[[Electoral fraud]l in [[Pennsylvania]l to alter the 2020 election, and on page 327 is

time stamped PROOF [[Josh Shapiro]] was aware of the fraud. Per the clerk,

Judge [[Lynn Hughes]] stole the mailed documents. This may be related to [[1939

Nazi rally at Madison Square Garden]], r[David Fahrenthold]l, the murder of

[[ Jonathan Luna]] and f[FOIA]]-2020-01319. <ref>

https://www.courtlistener.com/docket/17211651/huddleston-v-federal-bureau-of-

investigation/ </ref>. On 08JUL2021 Mr. Cutler was robbed ofhis wallet, credit

cards, and PASSPORT, in order to prevent him from travel in the United States in a

manner just like Sean Williams that filed a lawsuit against Lancaster County Police

and ended up DEAD. <ref> https://www.washingtonpost.com/ news/post-nation/ wp/2018/07/01 /sean-williams-

lancaster-policc-shot-taser-even-though-he-was-unarmed-compliant/ </ref>.   Mr. Cutler is still being Denied

Part B Medicare even though he is at full age and the Biden administration is

presently providing this to thousands of people that just entered the country in a

illegal manner. Judge Garaufis denied Mr. Cutler Part B Medicare and ruled that

Allison Mack only pay a 20 thousand dollar fine and serve 3 years in prison for her

role in case 1: 18-cr-00204, where a minimum of 8 women were raped and


                                                      PAGE 4 of 229
  Case: 1:20-cv-00099-SNLJ                   Doc. #: 27       Filed: 08/11/21             Page: 5 of 64 PageID #:
                                                            840



BRANDED by her actions, and where Multiple women who had sex with Bill Cosby

were awarded MILLIONS. Mr. Cosby was incarcerated INSTANTLY at the end of

the trial as well as Rufus Seth Williams at the end of his trial. Verizon has

programmed several numbers of individuals of the United States govenement to be

non-reachable by Mr. Cutler' s phone including Andrea Parker listed in the letter

dated May 7, 2021 for FOIA-2020-01319 that was 409-981-7938. Verizon also sold

the debt based on the Illegal removal of him from his apartmemt at 67

CAMBRIDGE VILLAGE and the THEFT of 100% of the contents and his records

simply by the payment to a CORRUPT JUDGE, and covered up by CORRUPT

MEDIA. The government is transporting people by plane without passports. <ref>

https://www.nbcnews.com/politics/immiqration/biden-admin-aqain-flyinq-migronts-who-cross-border-one-ploce-n 12712 l l

</ref>. Jeffrey Cutler and Britany Spears were both denied DUE PROCESS. Judge

Diamond's order of 12JUN2021 may in this case be because he was BRIBED,

BLACKMAILED or THREATENED or simply corrupt. The plaintiffs presented

arguments that failed to have all the evidence of criminal activity, and also real data

<ref> https://www.thegatewaypundit.com/2021 /03/exclusive-per-cdc-data-nearly-twice-manv-vaccine-related-deaths-far-2021 -

1755-vaccine-deaths-past-decade-994/ </ref>.    Since the motion in case 4:21-cv-01774 also

combines cases, the judge for case 4: 18-cv-00167-0 (Northern District of Texas).

should act on this motion since that is an older case. Mr. Cutler has also been denied

justice as recently by an UN-OPPOSED motion on the order of 17MAY2021 in case

2:20-cr-00210. Judge Stewart Dalzel hinted at this in is verdicts over 25 years ago in



                                                       PAGE 5 of 229
 Case: 1:20-cv-00099-SNLJ          Doc. #: 27     Filed: 08/11/21      Page: 6 of 64 PageID #:
                                                841



orders regarding Lisa Michelle Lambert, of implied threats. Based on the story <ref>

https://www.newyorker.com/news/essay/sayinq-her-name </ref> in the New Yorker people have


known that people in the Government MURDERED 5 CIDLDREN on

13MAY1985, and there is a conspiracy to CONCEAL the crime and OBSTRUCT

justice. Judge Diamond should have realized that Mr. Cutler has filed a MAIL

FRAUD complaint, against judge Diamond for the order denying MOTION TO

RECONSIDER 25MAY202 l. The UN-OPPOSED ORDER of Judge Limbaugh

of11MAY2021 NO MATTER WHAT WORDS LIKE DIATRIBE used in the

ORDER is ILLEGAL and CONSTUTES MAIL FRAUD. It shows ACTUAL

PROOF of BIOLOGICAL WARFARE by the ACTIONS of the PEOPLES

REPUBLIC of CIDNA, and ELECTORAL FRAUD by JOSH SHAPIRO. The

ORDER is the equivalent of DENYING that 6 MILLION JEWS were MURDEED

during WWII, or 5 CHILDREN were MURDEED in PIDLADELPIDA by 2

bombs furnished by the FBI, on 13MAY1985. Even though this document is later

than normally allowed, the ORDER should be RECONSIDERED because of the

minimum of 20,000 members of the NAZI party that are in the United States since

20FEB1939, when 20,000 people of American Nazi Party held a rally in Madison

Square Garden <ref> https://www.npr.org/sections/codeswitch/2019 /02/20/695941323/when-nazis-took-

manhattan </ref>, CONSPIRED to prevent Mr. Cutler from being served sooner and


this is REVENGE of the NAZI party against the UNITED STATES. Dates are an

IMPORTATNT part of history and the TRUTH. On 04JUN is the date LUKE


                                           PA GE 6 o f 229
  Case: 1:20-cv-00099-SNLJ                     Doc. #: 27        Filed: 08/11/21          Page: 7 of 64 PageID #:
                                                               842



WILLIAMS HAD HIS FIRST HOME RUN AS A member of the Philadelphia

Phillies. , and won the ball game. It is also the date that duchess of Essex had the

FIRST ENGLISH PRINCESS TO BE AN AMERICAN CITIZEN, Lilibet Diana

Mountbatten-Windsor, AND CLARENCE WILLIAMS THE III DIED, MR.

WILLIAMS HAD PORTRAYED LINC ON THE MOD SQUAD TV PROGRAM.

In the obituary from the Associated Press Lindsay Bahr printed on page B4 in the

Philadelphia Inquirer on 07 JUN202 l. The obituary referenced BILL COSBY had

told Aaron Spelling about Mr. Williams. Mr. Cosby was released from prison on

30JUN202 l, after a ruling by the Pennsylvania Supreme court CORRECTLY

IDENTIFIED his trial was unfair. Mr. Cutler has not been able to present his case in

court because of CRIMINAL ACTS and either has Brittany Spears. Brittany has

been a slave for 13 YEARS, based on the testimony of JUDGES, DOCTORS and

OTHERS. The case against Keith Raniere, Allison Mack, ENSLAVED and

BRANDED people. Based on case 1: l 8-cr-00204 Allison Mack (based on reports

born in Germany) is only paying a minimal fine based on reports she is worth

between 2-7 million dollars and gets significant residual payments from her acting

residuals. Mayor Bill deBlasio of New York City ORDERED all PERSONS

MUST BE VACINATED ,<ref> https ://www.n ytimes.com/202 1/08/03/nyregion/nyc-vaccine-mandate.html

</ref> to LIVE in New York City, which VIOLATES the <ref>

https://en.wiki pedia.org/wiki/Americans_ with_ Disabilities_Act_o f_ 1990 <ref>   and <ref>

https://en.wikipedia.org/wiki/ADA_Amendments_ Act_ of_ 2008 </ref>, since persons with




                                                         PAGE 7 of 229
  Case: 1:20-cv-00099-SNLJ                     Doc. #: 27       Filed: 08/11/21             Page: 8 of 64 PageID #:
                                                              843



COMPROMISED IMMUNITY (such as persons taking some type of drugs). On

20FEB1939 20,000 people of American Nazi Party held a rally in Madison Square

Garden <ref> https://www.npr.org/sections/codeswitch/2019 /02/20/69594 l 323/when-nazis-took-

manhattan </ref> <ref> https://en .wikipedia.org/wiki/ I 939        azi rally at Madison Square Garden    </ref> Per

the

[ Code of Federal Regulations] [ Title 21, Volume 4] [ Revised as of April l, 2020]


[ CITE: 21cFR211.131 ] 211.137 Expiration dating. It is ILLEGAL to SELL DRUGS


BEYOND THE PRINTED EXPIRY DATE ON THE LABEL. Per United States of

America v. Quality Eggs, LLC, et al. ,99 F.Supp. 3d 920 (D. Iowa Apr. 14, 2015). In

April 2015, U.S. District Court Judge Mark Bennett in Sioux City, Iowa, sentenced

Austin (Jack) Decoster and his son Peter to three months in jail for their role in

selling contaminated food across state lines. Their company, Quality Egg LLC, was

sentenced to a $6.8 million fine and placed on probation for three years. The CDC

has <ref> littps://www.wsj.com/articles/u-s-suspends-j-j-covid-19-vaccine-shipments-as-states-face-a-surplus-of-expiring-

doses-I 162335 110 1   </ref> apparently stopped shipping doses of the J&J vaccine. Jews are

being attacked in New York, Los Angeles, Canada, and (followed in) New Jersey per

a story in the Philadelphia Inquirer (24MAY2021). The NAZl's during WWII only

required offering a small bar of SOAP to get JEWS to enter GAS CHAMBERS

disguised as SHOWERS. The MURDER of the 5 children on on 13MAY1985 is

as serious as the case of Thomas Capano and his lover Anne Marie Fahey <ref>

https ://en.wikipedia.org/wikiffhomas Capano   </ref> and the murder of 300 people at the black


                                                        PAG E 8 of 229
  Case: 1:20-cv-00099-SNLJ                   Doc. #: 27        Filed: 08/11/21             Page: 9 of 64 PageID #:
                                                             844



walls treet <res> https://www.Cleveland.com/darcy/202 I/06/biden-addresses-t ulsa-massacre-darcy-cartoon .htm I </ref>

and <ref> https://www.npr.org/202l /06/01 / 1002080611 /nyc-gallery-hosting-a-tulsa-race-massacre-exhibition-was-vandalized-

with-white-o </ref>.    On 01JUN2021 Jeffrey Cutler called the THE REPORTER ANY A

JONES OF THE PHILADELPHIA TRIBUNE at 4:32 PM (215-893-5747) IN

ORDER to TALKED TO HER ABOUT THE STORY SHE WROTE ABOUT

BLACKWALL STREET AND NEGLECTED TO MENTION THE BOMBING IN

PHILADELPHIA 13MAY1985 THAT THE [[FBI]] FURNISHED THE

EXPLOSIVES, SHE HUNG UP THE PHONE. Mr. Cutler has also called the FBI,

CIA (Langley) and NSA about the BIO-WARFARE from CHINA, proof shown in

case 1:20-cv-00099, Eastern District of Missouri. In order to correct for new crimes

and OBSTRUCTION of JUSTICE discovered. On 20SEP2018 at 2:08 PM the a

BRADY VIOLATION was conspired against BILL COSBY and Mr. Cutler based

on Mr. Cutler's filing in case 19-3693 page 56, originally filed on 27SEP2018 case in

the Eastern District of Pennsylvania, 5:17-cv-05025. On 19APR2021 at 3:44 PM

Jeffrey Cutler filed a 211 page motion to do the same thing as in the case for 2:21-

cr-00170 . That document VANISHED in FEDERAL COURT despite calls to the

clerks office and on 21APR2021 and 22APR2021 Jeffrey Cutler called TWICE

EACH DAY the AUSA handling case number 2:21-cr-00170, ( MARK

DUBNOFF 215-861-8397 ). The U.S. Attormey's office HAS ALSO

PROGRAMMED Mr. Cutler's cellphone and LAND LINE NUMBER to be

excluded by the office of ASUSA, A BRADY VIOLATION, AND VIOLATION


                                                       PAGE 9 of 229
  Case: 1:20-cv-00099-SNLJ                     Doc. #: 27      Filed: 08/11/21   Page: 10 of 64 PageID #:
                                                             845



OF THE U.S. CONSTITUTION AMMEND 1. This document and the case for

2:21-cr-00170 has information about the MURDER of2 BLACK AUSA' s, Jonathan

Luna <ref> https ://en.wikipedi a.org/w iki/Jonathan_ Luna </ref> (Found 04DEC2003) and <ref>

https://en.wik.ipedia.org/wiki/Beranton_ Whisenant   </ref> Beran ton Whisenant (Found 25MAY201 7)

were also MURDERED by possibly members of the KKK OR THE 5 BLACK

CHILDREN CREMATED ALIVE ON NATIONAL TV 13MAY1985 BASED ON 2

BOMBS FURNISHED BY THE [[FBI]]. The judge in case 2:21-cr-00170 (Gerald

Papert) directed that the document filed on 19APR2021 at 3:44 PM be returned and

removed from the docket and committed MAIL FRAUD. On 06APR2021 at 2:34

PM Jeffrey Cutler filed a 356 page EMERGENCY EXPEDITED PETITION TO

INTERVENE, AND INJUNCTIVE RELIEF BECAUSE OF CRIMES {18 U.S.

Code § 1519 - Destruction, alteration, or falsification of records), 15 U.S.C. §§

78dd-1, & MAIL FRAUD AND TO COMBINE CASES FOR JUDICIAL

EFFICIENCY AND SUMMARY AFFIRMATION in person at the federal

courthouse in Philadelphia at 601 Market Street case #19-1842. On 06APR2021 at

4:10 PM a clerk called that they had the document. This DOCUMENT has also

VANISHED!!! The clerk in case 19-1842 (Patricia Dodszuweit) stamped the

document 08APR2021 and then wrote a letter dated 12APR2021 MAKING A

FALSE STATEMENT and mailed it on 13MAY2021 and committed MAIL

FRAUD. On 21APR202 1 and 22APR2021 Jeffrey Cutler called TWICE EACH

DAY the AUSA handling case number 2:21-cr-00 170, ( MARK DUBNOFF 215-


                                                        PAG E 10 o f 229
 Case: 1:20-cv-00099-SNLJ     Doc. #: 27     Filed: 08/11/21   Page: 11 of 64 PageID #:
                                           846



861-8397 ). The U.S. Attormey's office HAS ALSO PROGRAMMED Mr. Cutler's

cellphone and LAND LINE NUMBER to be excluded by the office of ASUSA, A

BRADY VIOLATION, AND VIOLATION OF THE U.S. CONSTITUTION

AMMEND 1. On 26APR2021 at 3:56 PM Jeffrey Cutler served the ACTING U.S.

Attorney Jennifer Arbittier Williams at 615 Chestnut St# 1250, Philadelphia, PA

19106 two copies of the 211 page stamped motions by Jeffrey Cutler for case 2:21-cr-

00170. On 14APR2021 Jeffrey Cutler filed a 136 page MOTION TO

INTERVENE, AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.

Code§ 1519 - Destruction, alteration, or falsification of records), 18 U.S. Code§

872 - EXTORTION BY OFFICERS OR EMPLOYEES OF THE UNITED

STATES, 18 U.S.C. § 3 ACCESSORY AFTER THE FACT MURDER,

BANKRUPTCY FRAUD, 15 U.S.C. §§ 78dd-1, & MAIL FRAUD AND TO

COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY

JUDGEMENT in case 2:21-cv-00190 in person. On 16APR2021 Mr. Cutler

recieved an email from the office of George Bochetto with a response to his motion

of 14APR2021 . He could not open the document. He called the office and got an

answering machine. He was not able to get the document from PACER until

17APR2021 at about 5:50 PM. He also found Mr. Cutler' s motion was DENIED as

MOOT with no chance for Mr. Cutler to respond, since he is not on the CM/ECF

system. On 13MAY2021 Mr. Farley resigned as HEAL TH COMMISIONER

because he OBSTRUCTED JUSTICE and ORDERED EVIDENCE


                                     PAGE 11 of 229
 Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 12 of 64 PageID #:
                                            847



DESTROYED in the GREATEST EXAMPLES OF MURDER BROADCAST of

children on LIVE TELEVISION, as a form of EVICTION. This also protects

INSURANCE COMPANIES from liability or being required to compensate owners,

includung the claim made by Jeffrey Cutler, Nov 2, 2017, A00000575634, and

terminated 21MAR2020, after PAYING ZERO, by bribing Judges and ckerks.

Insurance companies have conspired to not pay claims and in a continuing procedure

as with case 15-1271 USCA. Lawyers have got vedicts from companies like Johnson

& Johnson, for case 20-1223. The scope of manufacturing evidence as was on

display during the second impeacment of Mr. Trump was indefensible. On

06WL2021 Mr. William McMichael was found guilty and fined 2,608,329.75 of

allowing lead paint be present in a property that at the time the inspection was made

he was not the registered deed holder and the property owner lives actually in West

Virginia in court PA MDJ-02-1-01 by Judge AdamWitkonis case MJ-02101-NT-

0000612-2020. This is revenge on William H McMichael III notifying the treasurer

he was listed as the owner of the deed identified as instrument 6252884 with a tax ID

listing identified as 400-73447-0-0000, which was illegally sold to others with a

defective title. Since MJ-02101-NT-0000612-2020 case involves parties from

multiple states the state court was not the correct venue and the verdict must be

vacated. On 17MAR2021 time stamped 1:26 PM Mr. Cutler filed a 347 Page

PETITION FOR ENBANC HEARING BECAUSE OF CRIMES (18 U.S. Code §

1519 - Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-l ,MAIL


                                      PAGE 12 of 229
 Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 13 of 64 PageID #:
                                            848



FRAUD EQUAL PROTECTION AND TO COMBINE CASES FOR JUDICIAL

EFFICIENCY AND SUMMARY AFFIRMATION in case 20-1805 USCA third

circuit. Instead of granting a hearing the CLERK's OFFICE of the USCA issued an

ORDER that granted Mr. Cutler, the ability to PAY $ 505.00 without resinding the

order dismissing case 20-1805 (ECF 52). After calling about the fee being paid they

wrote a letter returning the money order on 19APR2020, which Mr. Cutler has not

recieved. In the case which is an appeal, U.S. NEWS AND WORLD REPORTS is

a defendant of PAID SLANDER against Mr. Cutler by Persons unknown or China.

They paid for targetted defamation and FALSE story against Mr. Cutler to conceal

the MURDER of2 BLACK AUSAs, MAIL FRAUD, and other crimes. To gamer

a hearing before an ENBANC COURT. Mr. Cutler recently discovered just how

easy the people have lied and conspired, as with multiple lawsuits filed by lancaster

county and Josh Shapiro to enable an Agenda, false statements made in Supreme

Court Brief 220155 (18 U.S.C. § 1001). Mr. Cutler filed a 356 page

EMERGENCY EXPEDITED PETITION FOR ENBANC HEARING BECAUSE OF

CRIMES (18 U.S. Code§ 1519 - Destruction, alteration, or falsification of records),

15 U.S.C. §§ 78dd-1, MAIL FRAUD EQUAL PROTECTION AND TO COMBINE

CASES FOR JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in case

19-1842 USCA third circuit, time stamped 06APR2021 at 2:46 PM (first 67 pages

were attached) Someone from the clerk's office acknowledged they got the

document at 4:10 PM 06APR2021 . Mr. Cutler emailed the PDF of the stamped copy


                                      PAGE 13 of 229
 Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 14 of 64 PageID #:
                                            849



to all parties in the case as well as over 400 individuals. In the document 5 case

#2:21-cv-01609 the document has TIME STAMPED evidence ofa MAIL FRAUD

COMPLAINT against Jim Kenney and Josh Shapiro. It also has evidence that Josh

Shapiro falsified the certification of the election and TRUMP won. On page 128 is

TIME STAMPED PROOF JOSH SHAPIRO KNEW HE LIED ABOUT THE

ELECTION RESULTS, On page 132 IS PROOF THAT CHINA KNOWS

THEY ARE ACCUSED OF BIO-WARFARE AGAINST THE WORLD

KILLING 3 MILLION PEOPLE, AND COMMITTED MAIL FRAUD TO

HIDE EVIDENCE, On page 133 is TIME STAMPED PROOF THE

ELECTION RESULTS WERE ALTERED TO ALLOW CHEATING (AN

ORDER FROM TORRES FROM 12APR2018), On page 134 IS A LETTER

FROM NANCY PELOSI IN COLLUSION TO WITH TED WHEELER OF

PORTLAND PROMOTING VIOLENCE, On page 136 IS A TIME STAMPED

MAIL FRAUD COMPLAINT FROM AGAINST JIM KENNEY VERIFIED

10MAR2020. On 11MAR2021 JEFFREY CUTLER FILED A MAIL FRAUD

COMPLAINT AGAINST THE PEOPLES REPUBLIC OF CHINA FOR

CLAIMING THEY REFUSED A 321 PAGE MOTION TO INTERVENE, AND

INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code§ 1519 -

Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-l & MAIL

FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND

SUMMARY JUDGEMENT in case #1:20-cv-00099 in the UNITED STATES


                                       PAGE 14 of 229
 Case: 1:20-cv-00099-SNLJ            Doc. #: 27      Filed: 08/11/21       Page: 15 of 64 PageID #:
                                                   850



DISTRICT COURT FOR THE EASTERN DISTRICT OF MISSOURI received on

or near 16FEB2021 at their embassy in Washington, DC (tracking 9505 5141 4909

1042 6153 86) at their DC Embassy (3505 International Place, NW) and after

opening the document one week later (24FEB2021) claimed the document was

REFUSED in a conspiracy with the POST OFFICE to CHEAT the UNITED

STATES GOVERNMENT of RETURN POSTAGE and follow the LAWS of the

UNITED STATES OF AMERICA. This effectively PUTS the PEOPLES

REPUBLIC OF CHINA in DEFAULT for violating the LAWS of the UNITED

STATES and shows they have been properly served and the return of the document

equates to a Waiver of Service. Inside the document was a 193 page report that

COVID-19 is LAB DERIVED and JEFFREY CUTLER was claiming CHINA has

engaged in Bio-Warfare with the WORLD based on a previous actions with

HEP ARIN and pet food and that the testing supplies are tainted and may be

spreading the disease in the United States. The media and political leaders have been

BRIBED to go along with MASKS and distance are the ONLY cure when

PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO

THE COVID-19 and FLU that result in DEATH from pneumococcal disease and

Ivermectin to treat the COVID-19 <ref>

https://www.covid l 9treatmentquidelines.nih.qov /antiviral-therapv/ivermectin/ </ref> Watch


https://www.voutube.com/watch?v=mqCle8F zUk for more information and read comments


sorted newest first. Also see <ref> https://www.americanfreedomlawcenter.org/case/ieffrev-cutler-


                                              PAGE 15 o f 229
 Case: 1:20-cv-00099-SNLJ            Doc. #: 27      Filed: 08/11/21        Page: 16 of 64 PageID #:
                                                   851



v-u+dept-of-health-human-services/ </ref> and <ref> https://www.brennancenter.org/legal-


work/corman-v-torres </ref> <ref> https://redistricting.lls.edu/files/PA%20corman%2020 l 80724%20brief.pdf


</ref><ref> https://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et al </ref> ·As

an Official Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler

declares the actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a

concerted effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a

Pro Se candidate against Tom Wolf and had an advertisement in the METRO paper

on 24OCT2018 page 15 :titled "SAVE BILL COSBY". On 03JAN2019 [[Nancy

Pelosi]] made a false statement in court via her lawyer (Mr Donald B. Verilli Jr.) and

stated "[N]o one would be hurt and the greater justice would be attained" and violated

(18 USC§ 1001) on 03JAN2019 on page 24 of the filing that was made in case 4:18-

cv-00167-0, a significant federal crime. On 26FEB2019 Jeffrey Cutler filed a lawsuit

in FEDERAL COURT 5:19-cv-00834 in [[Philadelphia]] against [[Nancy Pelosi]]

called (CUTLER v. PELOSI, et al.). This is 26 YEARS AFTER THE FIRST

WORLD TRADE CENTER BOMBING. This documents that service of the

complaint has been SERVED on the PEOPLES REPUBLIC OF CHINA at their

EMBASSY TO THE AMBASSADOR. Mr. Cutler had also published information

that the MURDER of two BLACK AUSAs Jonathan Luna <ref>

https://en.wikipedia .org/wiki/Jonathan Luna </ref> (Found 04DEC2003) and Beranton


Whisenant <ref> https://en.wikipedia.org/wiki/Beranton Whisenant </ref> (Found

25MA Y2017) were also MURDERED by possibly members of the KKK. Mr.


                                              PAGE 16 of 229
 Case: 1:20-cv-00099-SNLJ          Doc. #: 27     Filed: 08/11/21     Page: 17 of 64 PageID #:
                                                852



Whisenant was found on the same day George Floyd was declared Murdered in

2017. Despite calls to the clerk of the United States Court of Appeals, the clerks

Time Stamped Petition for Enbanc Hearing case 20-1805 was still not on the docket.

To get the time stamped document for case 20-1805 on the docket Mr. Cutler filed a

copy of the Petition in case in Eastern District Court case #2:21-cv-01290, and get

redress of grievances in person at the same courthouse in Philadelphia on

23MAR2021 with a 341 page motion to Intervene. On 24MAR2021 judge Kenney

denied the motion to intervene ECF 4 and stated the document was

incomprehensible and has no bearing or relavance to the above captioned action,

even though the motion was unopposed. A mail fraud complaint has been filed

against judge Chad Kenney. Also on 13JAN2021 at 4:10 PM on that date Mr. Cutler

filed a 321 page document for case 20-1422 which contained EXCULPATORY

EVIDENCE OF DOCUMENTED ELECTORAL FRAUD (page 62, 67 and 320

& first 69 pages in addendum) a CONSPIRACY to ENGAGE in CRIMINAL

ACTIVITY. This document is still not present on the docket, a federal crime. It is

believed this is has been based on BRIBES and COLLUSION with funds from

CHINA to hide an international effort to engage in [[Biological warfare]] with a

primary target being the United States, and DESTROY the value of the UNITED

STATES DOLLAR. DR. FAUCCI, KRISTEN WELKER and Persons of the

CDC have LIED about an Approved Vaccine to Stop COMPLICATIONS from the

FL u & COVID-19 <ref> https://www.futuremedicine.com/doi/l 0.2217/fca-2020-0082 </ref>. They are


                                           PAGE 17 of 229
 Case: 1:20-cv-00099-SNLJ                 Doc. #: 27       Filed: 08/11/21           Page: 18 of 64 PageID #:
                                                         853



called PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO

THE COVID-19 that result in DEATH from pneumococcal disease <ref>

https ://www .diabeles.org/diabetes/mcd ication-management/11 u-and-pneumon ia-shots </ref>. KRIS TEN


WELK.ER'S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. THE

TESTING KITS ARE TAINTED AND HELPING TO INFECT PEOPLE AROUND

THE WORLD <ref> https://www.govinfo.gov/content/pkg/CHRG-11 0hhrg53183/html/CHRG-

11 0hhrg53183.htm </ref><ref> https://www.nytimes.com/2008/03/06/health/06heparin.html

</ref><ref> https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html </ref><ref>

https://en.wikipedia.org/wiki/2007 pet food recalls </ref> <ref>

https://www.latimes.com/business/story/2019-09-18/carcinogen-scare-tainted-zantac </ref> COVID-19

is Biological warfare <ref>https://en.wikipedia.org/wiki/Biological warfare </ref> NOTE

CHINA GONE FROM LISTS AND PROGRAMMED TO BE EXCLUDED

JUST LIKE VOTES FOR TRUMP. It is believed that the testing components may

be tainted and is the real reason that so much propoanda has been placed on testing

when vacinations for to stop these deaths is cheaper and readily available. A

previous document in case 21-40001 was altered by persons unknown to protect the

CRIMES of the FBI/CIA and KLU KLUX KLAN, the PROUD BOYS is just

another name for the KKK. It also shows BIAS and MALICIOUS intent to violate

EQUAL TREATMENT under the law, a violation of the United States Constitution

Ammend 5. Jeffrey Cutler has ST ANDING and it was granted by the USCA in DC

on 14AUG2015 for case 14-5183 , and ORDER does not EXPIRE. Mr. Cutler was


                                                   PAG E 18 of 229
 Case: 1:20-cv-00099-SNLJ    Doc. #: 27     Filed: 08/11/21   Page: 19 of 64 PageID #:
                                          854



granted the RIGHT to protect the ESTABLISHMENT CLAUSE by the court and

has been trying to pursue his first ammendment right to PETTION THE COURT

FOR REDRESS OF GRIEVANCES. On 13DEC2016 Judge Diamond ignored

Mr. Cutler' s information about ELECTORAL FRAUD in case 16-cv-06287.

Recently in case# 1: 17-cv-05228 Judge Nicholas G. Garaufis (Eastern District of

New York) SIMPLY STATED MR. CUTLER IS NOT PART OF THE CASE AND

VIOLATED EQUAL PROTECTION UNDER THE LAW AND HAD THE

DOCUMENT RETURNED WITH NO RECORD ON THE DOCKET EVEN

THOUGH JOSH SHAPIRO (a Sonderkommando, elector for Joe Biden and the

current Attorney General of Pennsylvania) IS ON THE DOCKET. Mr. Cutler is

being denied MEDICARE part B coverage while the order in this case grants that

coverage immediately to NON-CITIZENS even though when DACA was set up the

president OBAMA publically stated the program was ILLEGAL. These persons are

being GRANTED EXTRA RIGHTS. Mr. Cutler a natural born citizen presently 67

years old and second generation American and JEWISH, eligable to be President or

Speaker of the House. In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of

the order from Mr. Torres dated 12APR2018 that all voting methods must have a

HARD COPY RECORD AVAILABLE filed 20OCT2020, as part of funding from

the FEDERAL GOVERNMENT!! The laws were altered in Pennsylvania to provide

DROP BOXES that failed to have this provision. Mr. Cutler had stated these ballots

violated the states OWN order, and a judge should decide their they are ILLEGAL,


                                    PAGE 19 of 229
 Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 20 of 64 PageID #:
                                            855



just like the term that may presently describe the sick bird Philadelphia football team

ILL EAGLE. The Citizens of the State of New York and may have been violated

by equal protection 03JAN2021 based on possible bribes or collusion to LOOSE the

football game due to substitution of the Quarterback, so the GIANTS were not able to

be in the playoffs, the coach has since been terminated. On 13JAN2021 at 4: 10 PM,

a 321 Page AMMENDED & CORRECTED EMERGENCY EXPEDITED

PETITION FOR HEARING ENBANC AND INJUNCTIVE RELIEF

BECAUSE OF CRIMES (18 U.S. Code§ 1519 - Destruction, alteration, or

falsification of records) & MAIL FRAUD AND TO COMBINE CASES FOR

JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in Philadelphia

USCA case 20-1422, which was prior to the vote of the SNAP IMPEACHMENT

with NO abilility of the president to present any witnesses or other

EXCULPATARY evidence This was equivalent of a HIGH TECH LYNCHING

(to quote Clarence Thomas) just like Mr. Cutler was subjected. The comments of the

president were selectively EDITED to remove the word peaceful, and the concept

this speech incited the riot is contradicticted by reports that the FBI knew about

activities for over a month (the document is contained in the Addemdum) . This

impeachment as fair was as true and correct as the attack on 11SEP2012 when

[[Susan Rice]] stated "But our current best assessment, based on the information that

we have at present, is that, in fact, what this began as, it was a spontaneous -- not a

premeditated -- response to what had transpired in Cairo. In Cairo, as you know, a


                                       PAGE 20 o f 229
 Case: 1:20-cv-00099-SNLJ           Doc. #: 27      Filed: 08/11/21      Page: 21 of 64 PageID #:
                                                  856



few hours earlier, there was a violent protest that was undertaken in reaction to this

very offensive video that was disseminated." Jeffrey Cutler found out that 5,000

Jews from the Rovno ghetto were shot in the forest near the city of Rovno Ukraine on

13JUL1942, the same day his uncle IRV CUTLER was shot down in a B24 over

Benghazi Libya. During this period was the battle at El Alamein stopping NAZI

advance towards Cairo and the Suez Canal. Anthony Algindy <ref>

https://en.wikipedia.org/wiki/Anthony Elgindy </ref> working with a corrupt FBI agent Jeffrey


Broyer may have had prior information of the attacks on 911. They both may be part

of the <ref> https://en.wikipedia.org/wiki/United States Federal Witness Protection Program </ref>.

The apparatus involving the FBI and CIA may have started when they tareted

Fawaz Younis and operation GOLDENROD was started and he was captured for

the 1985 Hijacking of an aircraft from Beirut with 4 americans aboard, but has been

corrupted. On 12JAN2021 Jeffrey Cutler filed a MAIL FRAUD complaint against

AMAZON and Jeffrey Bezos and on 11JAN2021 filed a MAIL FRAUD complaint

against TWITTER and Jack Dorsey. The MAIL FRAUD complaints are based on

being a INVESTOR in both companies and the ANNUAL REPORTS OF BOTH

COMPANIES that are MAILED to Mr. Cutler and other investors and statements

in those reports.

THERE IS TIME STAMPED PROOF OF ELECTORAL FRAUD IN

PENNSYLVANIA, ORIGINALLY FILED IN FEDERAL COURT 20OCT2020

PAGE 169 OF CASE 20-2936 PAGE 9 OF THE LINK BELOW ORIGINALLY


                                             PAGE 21 of 229
 Case: 1:20-cv-00099-SNLJ                  Doc. #: 27        Filed: 08/11/21           Page: 22 of 64 PageID #:
                                                           857



FILED IN FEDERAL COURT 20OCT2020 PAGE 169 OF USCA CASE 20-2936,

PAGE 320 OF CASE 20-1422 FILED 13JAN2021 AT 4:10 PM (BEFORE THE

IMPEACHMENT VOTE) AND PAGE 384 OF DOCUMENT FILED IN FIFTH

CIRCUIT 21-40001 <ref>

https://www.courtlisteoer.com/recap/gov. uscourts. pa md.1 27057/go v.uscourts.pamd. 127057 . 18 1.0. pdf </ref> THE DROP


BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY RECEIPT

AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO THE

CONTRARY. ASHLI BABBITT WAS ACTING AS A CITIZEN JOURNALIST

AND SHE HEARD THE CONSPIRACY WITH KKK/ANTIFA AND THE

POLICE, THAT IS WHY SHE WAS MURDERED. Reporter CHRISTIAN SIGN

was recently found dead <ref> https://deovergazette.com/wex/reporter-who-broke-story-on-clinton-l ynch-tarmac-

meetiog-found-dead/article_939887c0-ct2d-5edc-b553-f3 1ef6e0 12e2. htm l </ref>, he had exposed the Bill


Clinton meeting with Lorreta Lynch, and Mr. Newsome has banned CHRISTIAN's

from SINGING IN CHURCH. PER USCA CASE 17-1770 JOE BIDEN WAS

PART OF A GROUP HELPING TO SMUGGLE STOLEN NAZI ART INTO THE

UNITED STATES AND BILL COSBY FOUND OUT. The Proud Boys

(Philadelphia leader Zach Rehl) had his first court appearance Friday the

19MAR2021. On 13JAN2021 JOSH SHAPIRO is named in part of a Petition [[En

bane]] in the USCA in [[Philadelphia]] on Page 62 is a letter from [[Nancy Pelosi]] to

[[Ted Wheeler]] dated 27AUG2020 SUPPORTING VIOLENCE IN [[Portland,

Oregon]], On Page 67 is EVIDENCE OF COMPLAINT of [[Electoral fraud]] made


                                                     PAGE 22 o f 229
 Case: 1:20-cv-00099-SNLJ            Doc. #: 27      Filed: 08/11/21        Page: 23 of 64 PageID #:
                                                   858



to Office of Attorney General Josh Shapiro 24DEC2020 at 7:50 AM. On Page 68 is a

letter of a Private Criminal Complaint About Perjury and Obstruction of Justice made

to Office of Attorney General Josh Shapiro dated 20JUN2017, that concerns the

MURDER of [[Jonathan Luna]] by the [[Ku Klux Klan]]. Also see [[Publican and

the Pharisee]] and [[Parable of the Unjust Judge]]. Watch

https://www.youtube.com/watch?v=mqCle8F zUk for more information and read comments


sorted newest first. Also see <ref> https://www.americanfreedomlawcenter.org/case/jeffrey-cutler-

v-u-s-dept-of-health-human-services/ </ref> and <ref> https://www.brennancenter.org/legal-


work/corman-v-torres </ref><ref> https://redistricting.lls.edu/files/PA%20corman%2020 l 80724%20brief.pdf


</ref><ref> https://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et al </ref> As

an Official Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler

declares the actions Mr. Krasner, the Mayor of Philadelphia, and the Governor.were a

concerted effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a

Pro Se candidate against Tom Wolf and had an advertisement in the METRO paper

on 24OCT2018 page 15 :titled "SAVE BILL COSBY".

On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION PENDING

APPEAL was finally put online in case 20-1449 even though it was actually filed on

20MAY2020 at 4: 10 PM .. The case is called the UNITED STATES OF AMERICA

v. JOESEPH JOHNSON. The office of the president responded to this by

21MAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020

demanding all places of worship be allowed to open. Employees of the federal


                                              PAGE 23 of 229
 Case: 1:20-cv-00099-SNLJ    Doc. #: 27     Filed: 08/11/21   Page: 24 of 64 PageID #:
                                          859



government and others have been involved in a criminal conspiracy to OBSTRUCT

JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn

obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov

</ref> Mr. Cutler had sent a 330 page document on 17JUL2020 but that document

vanished, just like the white bunny HARVEY, who is invisible in the picture ofMke

Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the

Philadelphia Inquirer. The USPS tracking number 9510 8141 4908 0199 0615 60 is

not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes

them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE

COMMERCEand MAIL FRAUD. On 30SEP2020 at 12:42 PM (RESTAMPED

05OCT2020) Jeffrey Cutler filled a 571 Page PETITION TO COMBINE CASES

FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE

OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND

SUMMARY AFFIRMATION USCA CASE 20-2936. On 15OCT2020 at 12:42 PM

Jeffrey Cutler filled a 194 Page AMENDED PETITION TO COMBINE CASES

FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE

OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND

SUMMARY AFFIRMATION USCA CASE 20-2936. For USCA CASE 20-2936

On 28OCT2020 at 1:38 PM Jeffrey Cutler filled a PETITION FOR ENBANC

REVIEW of PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY

BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL


                                    PAGE 24 of 229
 Case: 1:20-cv-00099-SNLJ                Doc. #: 27        Filed: 08/11/21          Page: 25 of 64 PageID #:
                                                         860



FRAUD, AND OTHER CRIMES), AND SUMMARY AFFIRMATION AND

PEREMTORY DISQUALIFICATION OF ALL JUDGES OF THE THIRD

CIRCUIT AND MOVE TO FIFTH CIRCUIT. On 12NOV2020 at 3:56 PM Jeffrey

Cutler filled a PETITION TO COMBINE ADDITIONAL CASES BEFORE

ENBANC REVIEW BECAUSE OF ADDITIONAL CRIMES (18 U.S. Code§ 1519

- Destruction, alteration, or falsification of records) FOR JUDICIAL EFFICIENCY

in USCA case 20-2936

On 23NOV2020 AT Jeffrey Cutler filed al 99 page PETITION FOR INJUNCTIVE

RELIEF BECAUSE OF CRIMES (18 U.S. Code§ 1519 - Destruction, alteration, or

falsification of records) AND TO COMBINE CASES FOR JUDICIAL

EFFICIENCY AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON

IN PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR

PRESIDENT INC. , et al. v. KA THY BOOCKVAR, et al. case 4:20-cv-02078. Mr.

Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.

VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §

1519 - Destruction, alteration, or falsification of records, MAIL FRAUD, AND

OTHER CRIMES), COMBINE CASES FOR JUDICIAL EFFICIENCY AND

SUMMARY JUDGEMENT and it is time stamped 19NOV2020 case case number

4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> https ://www.courtlistener.com/recap/gov.uscourts.pamd. l 27057 /qov.uscourts.pamd.127057.180.0.pdf </ref>




                                                   PAGE 25 o f 229
 Case: 1:20-cv-00099-SNLJ                   Doc. #: 27         Filed: 08/11/21            Page: 26 of 64 PageID #:
                                                             861



<ref> https://www.courtlistener.com/recap/gov.uscourts.pamd.127057 /gov.uscourts.pamd.127057.181.0.pdf </ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM

CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD, and

he got a 193 page report from Steven Carl Quay, MD, PHD (Steven@DrQuay.com)

A COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS

ORGANIZATIONS, INCLUDING RUDY and SYDNEY POWELL. Other

organizations had stated COVID-19 is Bio Warfare.

<ref> httos://iournal-neo.orq /2020/04/15/ did-a merica-iust-confess-to-a-covid- l 9-bio-war/ </ref>

<ref> https://www.rightwingwatch .org/post/covid-19-is-chinese-bio-warfare-says-trump-allied-megachurch-pastor-jack-
hibbs/ </ref>

<ref> https://www.siasat.com/covid-19-biowarfare-says-bioweapon-creator-dr-francis-boyle- l 866058/ </ref>

<ref> https:/ / www.cnn .com/2020/04/08/politics/biological-warfare-laws-covid- l 9/index.html </ref>

<ref> https://www.biologicalweapons.news/2020-02-19-covid-19-coronavirus-found-to-contain-gain-of-function-for-
efficient-spreading-human-population .html </ref>

<ref> https:/ /www .washingtontimes.com/news/2020/jan/26/ coronavirus-link-to-china-biowarfare-progra m-possi/ </ref>

<ref> https:// www.city-journal.org/html/when-germ-warfare-ha ppened- l 3282.html </ref>

<ref> https :/ /www .dallasnews.com/news/pu blic-health/2020/03/ 18/dallas-federal-lawsui t-accuses-chinese-government-of-
creati ng-coronavirus-as-biological-weapon/ </ref>


BASED ON MR. CUTLER'S VALIDATION EXPERIENCE HE THINKS THAT

THE TESTING COMPONENTS MAY BE TAINTED and actually causing increase

in COVID-19. This is based on PREVIOUS actions by CHINA.

< ref>http s://www.q ovinfo.gov/content /pkq /CHRG-1 10hhrg53 l 83/ html/CHRG- l l 0hhrq 53 l 83.htm </ref>


<ref> https://www.nytimes.com/2008/03/06/health/06heparin.htm1</ref>

<ref>https://www.latimes.com/archives/ la-xpm-2008-mar-20-na-fda20-story.html</ref>


< ref>https://en.wikipedia.orq/wiki/2007 pet food recalls </ref>




                                                       PAGE 26 of 229
 Case: 1:20-cv-00099-SNLJ                 Doc. #: 27        Filed: 08/11/21            Page: 27 of 64 PageID #:
                                                          862



18 U.S. Code§ 1519 - Destruction, alteration, or falsification of records involving

ECF 33 filed 28OCT2020. Mr. Cutler believes the same technique used in the VW

EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same

programmers <ref>

https: //www. nytim es. com/interactive /20 l 5/business/in ternationa I/vw-diesel-e mission s-sca nda l-

expla ined. htm1</re f> <ref>https://www.ydr.com/story/news/politics/elections/2019 / 11 /06/how-pa-fix-

paper-ballot-voting-problems-before-2020-presidential-election/25071 Ol 00 l 1</ref> PER USCA CASE

17-1770 JOE BIDEN IS INVOLVED IN DEALING IN STOLEN NAZI ART

FROM WWII. THE 199 PAGE DOCUMENT FILED 23NOV2020 AT 3:45 PM

VANISHED IN FEDERAL COURT, just like Mr. Cutler's testimony at SEPTA FY

2020 ANNUAL SERVICE PLAN dated June 10, 2019 on page 290-292 ofECF 62,

case number 2:20-cr-00210 (USA v MICHEAL OZZIE MEYERS).

On 31DEC2020 Jeffrey Cutler at 11: 11 AM he filed a 383 PAGE MOTION FOR

SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND

INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code§ 1519 -

Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO

COMBINE CASES FOR WDICIAL EFFICIENCY AND SUMMARY

WDGEMENT in the UNITED STATES DISTRICT COURT OF THE EASTERN

DISTRICT OF NEW YORK CASE #1: 17-cv-05228 (STATE OF NEW YORK v.

DONALD J. TRUMP) AS AN INTERVENOR DEFENDANT.On page 46&47 of

USCA case 20-2936 filed 12NOV2020 (55 & 56 of ECF 181 case 4:20-cv-02078) is



                                                    PAGE 27 of 229
 Case: 1:20-cv-00099-SNLJ                       Doc. #: 27          Filed: 08/11/21              Page: 28 of 64 PageID #:
                                                                  863



documented evidence of (18 U.S. Code § 1519 - Destruction, alteration, or

falsification of records) involving ECF 33 filed 28OCT2020. Mr. Cutler believes the

same technique used in the VW EMISSIONS SCANDAL WAS USED TO ALTER

VOTES and possibly by the same programmers <ref>

https://www. nytimes.com/interacti ve/20 15/business/intemational/vw-diesel-emiss ions-scandal-explai ned.htm l</ref>


<re f> https ://www.ydr.com/story/news/po Iitics/elections/20 I9/ I I/06/how-pa-fix -paper-ha llot- votin g-problems-before-202 0-

presi dential-election/2507 10 100 1/</ref> PER USCA CASE 17-1770 JOE BIDEN IS


INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWII. Mr. Cutler

previously had filed copies of documents from case 19-11466 (Bankruptcy of

PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL

), in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages

23 , 53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a

previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders

for the Hospital that wanted to KEEP IT OPEN as a running HOSPITAL and offered

funds from the DEFAULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the

mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the

media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from

atteding hearings at the law office of Saul Ewing while reporters were allowed to

attend at the law office of Saul Ewing (he was asked to leave by security, and

Philadelphia Police). Mr. Cutler previously had contested the states order that they

could redistrict (USCA Case 18-1816) via a method that gave the court this power


                                                            PAGE 28 of 229
 Case: 1:20-cv-00099-SNLJ               Doc. #: 27       Filed: 08/11/21         Page: 29 of 64 PageID #:
                                                       864



even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and

allowed it to be ammended in 10 days, <ref> https ://www. brenn ancenter. org/legal-work/corman-v-torres

</ref><ref> https ://redistricting.11s.edu/fil es/PA %20corman%2020 I 80724%20bri ef.pdf </ref> and conceal the

MURDER of employee of the Federal Government with the aid of the [[FBI]] . Mr.

Cutler a former ELECTED TAX COLLECTOR in November 2013 and has been

trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank

robbery by others, insurance fraud on 17MAR2017 and a challenge to

OBAMACARE on 31DEC2013 (case 1:13-cv-2066 in Washington, DC). Mr. Cutler

was granted the right to challenge OBAMACARE by the USCA in Washington, DC

on 14AUG2015. Mr. Cutler has filed in many cases and has caught persons

obstructing justice like in case 20-5143 (USCA Washington, DC), Nancy Dunn

stated she discarded all the documents and OBSTRUCTED JUSTICE. Many cases

involve unopposed motions. Priority mail tracking number #9510 8066 2091 0225

1534 23. A document sent to the Supreme court on 30NOV2020 at 4:28 PM used

Express Mail, tracking number EJ505034251 OS and vanished also, just like previous

documents in federal court. In case # ON 07DEC2020 JEFFREY CUTLER FILED

VIA NEXT DAY MAIL (EJ505033021US) A 315 PAGE MOTION FOR

RECONSIDERATION AND INJUNCTIVE RELIEF BECAUSE OF CRIMES ( 18

U.S. Code § 1519 - Destruction, alteration, or falsification of records) AND TO

COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY

JUDGEMENT IN CASE 1: 17-cv-05228 (STATE OF NEW YORK v. DONALD J.


                                                  PAGE 29 of 229
Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 30 of 64 PageID #:
                                           865



TRUMP AS A Intervenor Defendant. [[DACA CASE CITING EQUAL

TREATMENT UNDER THE LAW- first 59 pages of315 attached in the

Addendum]] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD AND

DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED AS

PAGE 169 (P3 20) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v. THOMAS

WOLF, et al.). Even though the document IN CASE l:l 7-cv-05228 was recieved on

08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite multiple

claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the case in

New York, and a MAIL FRAUD complaint has been submitted for his previous

actions and BASED ON A STORY ON PAGE B2 09DEC2020 PHILADELPHIA

INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD BASED ON

RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE 59 OF A

315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the

ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a

CONSPIRACY to commit MAIL FRAUD with the other electors and is also

AIDING AND ABETTING in concealing the MURDER of a BLACK

FEDERAL EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the

Fact MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge

Clarence C. Newcomer ruled that the Democratic campaign of William G. Stinson

had stolen the election from Bruce S. Marks in North Philadelphia's Second

Senatorial District through an elaborate fraud in which hundreds of residents were


                                     PAGE 30 of 229
Case: 1:20-cv-00099-SNLJ                   Doc. #: 27         Filed: 08/11/21           Page: 31 of 64 PageID #:
                                                            866



encouraged to vote by absentee ballot, a form of MAIL FRAUD. On many of the

ballots, they used the names of people who were living in Puerto Rico or serving time

in prison, and in one case, the voter had been dead for some time.

"Substantial evidence was presented establishing massive absentee ballot fraud,

deception, intimidation, harassment and forgery," Judge Newcomer wrote in a

decision made public. <ref> https://www.lcag le.com/decision/ 199489219f3d873 17S9 </ref>,

<ref> https ://www.nytimes.com/ 1994/02/ 19/us/vote-fraud-ru ling-shi fts-pennsy lvan ia-senate.ht ml </ref>. Even

though the judge is named as part of the complaint filed for case #1 :20-cr-00 165 for

MAIL FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in

case 2: 17-cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE

was a reason to deny ALL motions by Mr. Cutler. It was established that ALL

parties FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same

judge has shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT

under the law, a violation of the United States Constitution Ammend 5, in an effort

to violate Mr. Cutler's right to redress of grievances and as a violation of 18 U.S .C. §

3 accessory after the Fact MURDER of Jonthan Luna ( a BLACK employee of the

FEDERAL GOVERNMEMT). The same persons that MURDERED Luna based on

the injuries may be the same individuls in a Louisiana town of Baldwin that are

responsible for the death of Ouawan "Bobby" Charles. A mail fraud complaint has

been filed against Judge Schmehl for his opinion in the case, for making

PERJURED STATEMENTS BY MAIL, (18 USC § 1001) and an effort to protect


                                                      PAGE 3 1 o f 229
Case: 1:20-cv-00099-SNLJ                   Doc. #: 27        Filed: 08/11/21            Page: 32 of 64 PageID #:
                                                           867



parties that defaulted as well as both insurance companies and their lawyers making

false statements by mail in denying claims. Mr. Cutler believes he should be

included in this case because the Safehouse activity would lower the property values

all over Philadelphia and Pennsylvania and allow illegal drugs to become even more

readily available. This would set a standard for CIDNA to attack the United States

even further. The DemoNcrats have pushed for the lowest common demoninater of

activity and depavity to destroy this Republic, and destruction of GOD in favor of the

STATE. This WORLDWIDE attack based on payments and corruption this court

MUST deny them the chance to succeed and promote DRUG DENS in Philadelphia.

On 13MAY1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be

CREMATED ALIVE , based on BOMBs furnished by the [[FBI]] , as a form of

eviction. Midge Rendel has failed to RECUSE from case 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis

(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).

Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a

Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the

governments (both federal and state) and also the murder of five children on May 13,

1985 as a form of Eviction with the aid of persons in the FBI. In the name of

Tzadikim Nistarim, Shaun Bridges a secrect service agent stole over $ 800,000 and

was convicted of the crime in NOV2017 <ref> https://www.justice.gov/opa/pr/fonner-secret-service-agent-

sentenced-scheme-related-silk-road-investigation </ref><ref> The murder of Sean Suiter was equall y tainted




                                                      PAGE 32 of 229
 Case: 1:20-cv-00099-SNLJ                    Doc. #: 27         Filed: 08/11/21             Page: 33 of 64 PageID #:
                                                              868



https://www.ydr.com/story/news/2020/07/10/investigator-death-baltimore-city-police-detective-sean-suiter-charged-kidnapping-
extortion-casets41 223soo21</ref>Mr. Cutler had stated that he believed that the MURDER of

JONATHAN LUNA was carried out by the KLU KLUX KLAN, and concealed

with' help of persons of the FBI. Mr. Cutler based on his past jobs & training that the

COVID-19 pandemic is BIO-WARFARE against the world from CHINA and

CORRUPT OFFICIALS & CORRUPT MEDIA in violation of the FCPA and the

Logan Act Stat. 613, 18 U.S.C. § 953 with China. Based on his previous contracts in

VALIDATION for MERCK, BAXTER, J&J etc. GMP training and the only 1178

cases and 12 deaths in TAIWAN as of07MAY2021, THAT THE TESTING

COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19,

in the United States, and other places. This is based on PREVIOUS actions by

CHIN A. <ref>https://www.govinfo.gov/content /pkg/CH RG-11 0hhrg53183/html/CHRG-11 0hhrg53183.htm

</ref>
<ref> https://www.nytimes.com/2008/03/06/health/06heparin.html</ref>
<ref>https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html</ref>
<ref>https://en.wikipedia.org/wiki/2007_pet_food_recalls </ref>. Based on these facts , the current

non-binding mandate from the Dr. Levine and others in other STATES may be trying

to increase the number of cases, to HARM the UNITED ST ATES based on bribes

and TREASON by mostly DemoNcrats and some Republicans posing as good people

who are RHINO's, when President Trump may have been the first DINO identified

since the MURDER of John Kennedy.

Every Public Health official that fails to recommend mass Pneumonia vaccinations


                                                        PAGE 33 of 229
 Case: 1:20-cv-00099-SNLJ            Doc. #: 27      Filed: 08/11/21       Page: 34 of 64 PageID #:
                                                   869



is complicit in the deaths in the United States. Although Thanksgiving was not a

religious holiday, many people say a prayer before the meal and therefore the

restrictions on Thanksgiving is a VIOLATION of the EST ABLISMENT

CLAUSE, also since it tries to limit prayer services in PA., INTERFERENCE IN

INTERSTATE COMMERCE, and the order also violates EQUAL

PROTECTION since commuters are exempt in Pennsylvania. Forced testing

without a court order violates the FIRST Amendment, just like you cannot be forced

to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures

PNEUMOVAX23, and the actions of Dr. Levine have depressed the value of the

company, and should be prosecuted just like Martha Stewart was charged and put in

prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLF issued a

DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the

county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal

funds and Equal Treatment Under the law (Ammend 14), since LANCASTER

COUNTY did the exact same thing. <ref>

https://pittsburgh.cbslocal.corn/2020/07/22/lebanon-county-sues-governor-torn-wolf/ </ref> On

or about 14AUG2020 Tom WOLF reversed himself but dictated that Lebanon

County MUST use 2.8 million of the CARES act funding for MASK

ADVERTISING in direct support of Joe Biden' s campaign focus <ref>

https://papost .org/2020/08/14/reve rs in g-cou rse-wo I£-releases-cares-act-fund ing-to-lebanon-

coun ty/ </ref>, which is five years since the USCA in Washington ruled Mr. Cutler



                                              PAGE 34 of 229
 Case: 1:20-cv-00099-SNLJ                Doc. #: 27        Filed: 08/11/21          Page: 35 of 64 PageID #:
                                                         870



had the right to Defend the Establishment clause (case 14-5183) and 75 years since

VJ day of WWII. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC

have LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU

& COVID-19 <ref>https://www.futuremedicine.com/doi/ l0.22 l7/fca-2020-0082</ref>. They are called

PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO

THE COVID-19 that result in DEATH from pneumococcal disease <ref>

https://www .diabetes. org/diabetes/med ication-management/fl u-and-pneumon ia-shots</ref>. KRIS TEN

WELKER'S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On

22JUN2020 a PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL

was finally put online in case 20-1449 even though it was actually filed on

20MAY2020 at 4: 10 PM .. The case is called the UNITED STATES OF AMERICA

v. JOESEPH JOHNSON. The office of the president responded to this by

21MAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020

demanding all places of worship be allowed to open. Employees of the federal

government and others have been involved in a criminal conspiracy to OBSTRUCT

JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn

obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref>

Mr. Cutler had sent a 330 page document on 17JUL2020 but that document

vanished, just like the white bunny HARVEY, who is invisible in the picture ofMke

Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the

Philadelphia Inquirer. The USPS tacking number 9510 8141 4908 0199 0615 60 is


                                                   PAGE 35 of 229
 Case: 1:20-cv-00099-SNLJ     Doc. #: 27     Filed: 08/11/21   Page: 36 of 64 PageID #:
                                           871



not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes

them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE

COMMERCE. Mr. Cutler's brother FRED had recently got a job as an USHER

for the PHILADELPHIA PHILLES for the 2020 season, but because of the

CONSPIRACY to close the states there will be no live viewing of games this

season. Mr. Cutler's brother and approximately 69 MILLION other people

(approximate attendence of 2019 baseball season) have been denied the RIGHT of

PURSUIT OF HAPPINESS as is part of the DECLARATION OF

INDEPENDENCE during the 2020 baseball season and today they allow only

8,000 people to attend in 2021. Thomas Wolf and Jim Kenney have allowed almost

unrestricted protest marches with POLICE escorts, but cancelled other parades and

events. Mr. Cutler had proposed an option to have games played in every city. As

stated by Judge James C. Dever III ruling 16MAY2020 there is NO PANDEMIC

EXZEMPTION IN THE CONSTITUTION. The news media in concert with

individuals in the DEMOCRATIC party have and some that pretend to be

REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed a

complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC§ 653-MISUSE OF

FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS IS

A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING

AND ABETTING in concealim? the MURDER of a BLACK FEDERAL

EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating


                                    PAGE 36 o f 229
 Case: 1:20-cv-00099-SNLJ         Doc. #: 27     Filed: 08/11/21     Page: 37 of 64 PageID #:
                                               872



18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee

is Jonathan Luna <ref> ht:ms://en.wikipedia.org/wiki/Tonathan Luna </ref> and Beranton

Whisenant <ref> ht:ms://en.wikipedia.org/wiki/Beranton Whisenant </ref> Justin Zemser and

Sean Suitter. The recent murder of Roy Den Hollander in New York for challenging

the news media (case 1: 16-cv-06624) is just another crime concealed from the

public.That case is included by reference and joined to this one. The crime-fraud

exception was first recognized in the United States over one hundred years ago, and

the policy behind it is well-defined. (The crime-fraud exception was first recognized

in the United States in Alexander v. U.S., 201 U.S. 117, 121 (1906).) The legal

community does not deem discussions concerning future wrongdoings, such as

fraud, that occur during an attorney-client communication worthy of protection. Id.

at 562-63. While the practice of law encourages full and frank communications

between the attorney and client, only communications concerning past wrongdoings

are protected. Mr. Cutler had previously been elected to Public Office as the TAX

COLLECTOR of East Lampeter Township, Lancaster County Pennsylvania, based

on an Election in November 2013. and took the Oath of OFFICE prior to his first

day on the job, on 06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013

regrding violations ofReligious Freedom as case number 1:13-cv-02066. He was

granted the right to challenge OBAMACARE in Appeal as case 14-5183 on

14AUG2015 for violations of the ESTABLSHMENT CLAUSE. Mr. Cutler was

removed from Office after 27 months based on PERJURED TETIMONY, and a


                                          PAGE 37 of 229
 Case: 1:20-cv-00099-SNLJ                Doc. #: 27       Filed: 08/11/21          Page: 38 of 64 PageID #:
                                                        873



CONSPIRACY TO COMMIT MAIL FRAUD and BANK ROBBERY. In

Manhiem township Patricia Kabel (elected the same year as Mr. Cutler) was

harrased in a similar manner was equally harrased in court and the township spent

about 160,000 of taxpayer money to make her leave office. <ref>

https:ljlancasteronline.com/news/local/commonwealth-court-denies-manheim-township-schoo l-districts-appeal-in-


long-running-tax-collector-case/article 127508cc-c2e5-1 lea-864a-8b754638d23f.html </ref> Based on these


actions Mr. Cutler investigated the parrties involved and tried to have a FEDERAL

JURY TRIAL to clear his name. Since he found no law firm would represent him

based on contacts with the FBI or law enforcemnt. The lancaster county treasurer

was apponted to replace Mr. Cutler in the collection of taxes and never had a surety

bond until 18JUL2018 <ref> https://lancasteronline.com/news/local/lancaster-county-trcasurcr-without-

insurance-for-millions-in-tax-do lla rs/article e f5b90bc-89d5-1 le8-8ace-77712e721cba.html </ref> NO Prosection


of the treasurer was ever instituted, a clear violation of EQUAL TREATMENT

On 20MAY2020. Mr. Cutler won a motion for reconsideration in the court based

on EQUAL TREATMENT under the law in this court (case# 1:17-cv-01740

06NOV2017), but the judge failed to award any compensation as requested and the

clerks removed one defendant from the case an tampered with the document.

Pennsylvania has previously had a number notorious crimes of public employees

<ref> https://en.wikiped ia.org/wiki/Kids_for_cash_scandal </ref> (including judges Mark Ciavarella &

Michael Conahan) convicted of federal crimes that resulted in convictions. Mr.

Cutler filed for an IMMEDIATE INJUNCTION PENDING APPEAL FOR



                                                  PA G E 38 o f 229
 Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 39 of 64 PageID #:
                                            874



ALL juridictions of the United States, based on the ruling in case# 4:20-cv-00081

in the United States District Court for the Eastern Ditrict of North Carolina on

16MAY2020 by Judge James C. Dever III. Since Governor Roy Cooper has made

public statements that he does not intend to appeal, this is settled law. Mr. Cutler

had filed a Petition to DENY the Motion For Summary JUDGEMENT and to

consolidte related cases of religious discrimination by the government in case USCA

20-1805 on 14MAY2020 and the document and was not put online until

20MAY2020. The document filed by Brian L. Calistri on May 8, 2020 contains

some perjured statements and since it was sent by mail constitues Mail Fraud and

Perjury (18 USC§ 1001) and constitutes a CONSPIRACY to conceal the murder

of a Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the

governments (both federal and state) and also the murder of five children on May

13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing the

bombs. Mr. Cutler had stated that he believed that the MURDER of JONATHAN

LUNA was carried out by the KLU KLUX KLAN, and concealed with help of the

FBI. The judge dismissed the case even though 5 parties defaulted and were

properly served. Based on ECF #5 in case# 2:17-cv-00984 by the late Thomas

O'Neill, Mr. Brian L.Calistri's motion failed to notify the parties that have

defaulted in this case and therefore should have been DENIED. Mr. Cutler had

made a complaint by mail to the DA office in Lancaster County, Pennsylvania and

York, County Pennsylvania. Mr. Cutler had also filed a motion to intervene on


                                      PAGE 39 of 229
 Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 40 of 64 PageID #:
                                            875



22SEP2019 in the case of Tami Levin in federal court case 2:19-cv-03149 (ECF 5)

which named DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a

response to the motion filed in oppoition on 25SEP2019. Even though the document

filed on 25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and

VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an

order on 09OCT2019 which not only denied Mr. Cutler's right to intervene but also

violated the United States Constitution Ammend 1, by making a THREAT BY

MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler's

right to PETITION THE GOVERNMENT FOR REDRESS OF

GRIEVIENCES. Tami Levin was replaced by Movita Johnson-Harrell who

pleaded guilty to the theft of approximtely half million dollars. Mr.Cutler had filed

objections to limit the power of the Tom Wolf to classify that religion as a NOT a

LIFE SUSTAINING activity in the Commonwealth of Pennsylvania. Mr. Cutler

filed his first lawsuit on 31DEC2013 regrding violations of Religious Freedom as

case number 1:13-cv-02066. He was granted the right to challenge OBAMACARE

in Appeal as case 14-5183 on 14AUG2015 for violations of the ESTABLSHMENT

CLAUSE. To this end Mr. Cutler filed documents in case 4:18-cv-00167-0 to

transfer it to Pennsylvania, but it was DENIED 21JAN2020. Mr. Cutler filed an

Appeal for the order on 04FEB2020 in the United States Court of Appeals Fifth

Circuit. When that was illegally ignored. Mr. Cutler filed documents in

Pennsylvania. Mr. Cuttler had requested that district court case number 4:20-cv-


                                      PAGE 40 of 229
 Case: 1:20-cv-00099-SNLJ               Doc. #: 27       Filed: 08/11/21         Page: 41 of 64 PageID #:
                                                       876



0064 in the United States District Court for the Northern District of Mississippi

[TEMPLE BAPTIST CHURCH et al. v. CITY OF GREENVLLE et al.], and

case number 1:20-cv-00323 in the United States District Court for the Western

District of Michigan [KIMBERLEY BEEMER et al. v. GRETCHEN WHTMER

et al.] and case number 1:20-cv-01130 (Mr. Cutler had a typing error and

previously wrote 1:20-cv-0 1120) in the United States District Court for the District

of MARYLAND, BALTIMORE DIVISION [ANTIETAM BATTLEFIELD KOA

et al. v. LAWRENCE J. HOGAN et al.] are also cases that should be part of this

consolidation. All charges in each case should be included by reference for all civil

cases as if they are filed with this filing, for JUDICIAL EFFICIENCY. Judge

Catherine C. Blake ofMaryland had one of the documents returned, obstructed

justice, and violated 18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan

Luna, on 03JUN2020 (birthday of Jefferson Davis after it was stamped in on

01JUN2020) after the office of AG in Maryland had responded to Mr. Cutler. Mr.

Cutler has previously called Mr. Wolf a member of the KLU KLUX KLAN in

documents related to this case in federal court. <ref> https://forward.com/fast-

forward/444442/nj-man-accused-of-orderin g-attacks-on-synagogues-re lea sed-from-jai I/ </ref> Despite Mr.


Cutler filing a request with the state prior to the end of the WAIVER deadline that

ALL BUSINESSES in Pennsylvania be considered LIFE SUSTAINING, Mr.

Cutler has never heard back about his request until 12MAY2020. Mr. Wolf also

NOW has a NEW group to TRACK everyone in PENNSYLVANIA that has the


                                                 PAGE 41 of 229
 Case: 1:20-cv-00099-SNLJ               Doc. #: 27       Filed: 08/11/21          Page: 42 of 64 PageID #:
                                                       877



COVID-19 virus or other secrect police duties. Based on the case of the aids law

project tracking people that have one type of virus is unconstitutional, and exposing
                                             /
their idenity is equally unconstitutional. The concept of EQUAL PROTECTION

UNDER the LAW is a cornerstone of both the United States Constitution and the

Commonwealth of Pennsylvnia. Based on the story about Mike Du Toit of South

Africa <ref> https://www.dai lymail.co.uk/news/article-2478889/White-supremacist-Mike-du-Toit-plotted-kill-

 elson-Mandela-jailed.html </ref>   the BOEREMAG was just another name for KLU

KLUX KLAN. Also Tom Wolf made statements that said that people cannot be

evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on

07MAY2020 that use WRIT OF EXECUTION to sieze property. Recently in

New York white police officers were beating a BLACK MAN for failing to practice

social distncing (neither police officer was wearing a mask), and they should be

prosecuted for violating the same law that they were alledgely enforcing. It is

notable that Wikipedia has SCRUBBED Mike Du Toit from their records

(effectively trying to rewrite history). Taiwan is about 100 miles from CHINA, yet

has less than ten deaths and 500 confirmed cases. In the Appeals for the Fifth

Circuit the Order from the United States Northern District of Texas dated January

16, 2020 denying Plaintiff's MOTION FOR RECONSIDERATION OF MOTION

TO CHANGE VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS

TO PENNSYLVANIA AND COMBINE CASE WITH 5: 19-cv-00834 , and the

motion denying Plaintiff's motion of December 30, 2019. The current order from


                                                 PAGE 42 of 229
 Case: 1:20-cv-00099-SNLJ      Doc. #: 27     Filed: 08/11/21   Page: 43 of 64 PageID #:
                                            878



that court is in error since the USCA order of December 18, 2019, remanded the

case back to District Court and for further disposition and was unopposed and is still

unopposed. Mr. Cutler had previously filed a document by MAIL on March 1, 2019

but it was illegally discarded. He then filed on 07MAR2019 in person (Document

00514863727) , and it was put online March 7, 2019. The office of the clerk

decided it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on

27JAN2020, (Document 00515289904 International Holocaust Remembrance Day),

and it was only put online when Mr. Cutler informed the Deputy Clerk Mary

Francis Yeager that she was violating Mr. Cutler's civil rights. It was put online

January 29, 2020. A violation of EQUAL PROTECTION by employee of the

federal government, which treated the two documents differently and potentially hid

the document from the review of the judges considering an ENBANC review. Mr.

Cutler subsequently filed a PETITION F.OR ENBANC HEARING AND TO

TRANSFER RESIDUAL CASE TO PENNSYLVANIA AND COMBINE WITH

CASE 5: 19-cv-00834, this document was put online as document number

00515298284 on 04FEB2020, the same date it was filed in court. In the case both

Deputy Clerk Mary Francis Yeager and Deputy Clerk Roeshawn Johnson

denied the petition. This violated the United States Constitution Ammend 1 and 5.

It also also violates Mr. Cutler' s rights under the Sixth Amendment of the

Constitution. Mr. Cutler then on 04MAR2020 filed a 380 page document in this

case (2: 19-cr-00367). Within 24 hours of the filing Mr. Cutler got a threat by phone


                                      PAGE 43 of 229
 Case: 1:20-cv-00099-SNLJ       Doc. #: 27     Filed: 08/11/21   Page: 44 of 64 PageID #:
                                             879



from an unidentified individual about the filing. On 06MAR2020 Mr. Cutler filed a

nine page correction to the document previously filed. When the document was

downloaded from the federal pacer system it was devoid of any markings. On

12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER DENYING

ORDER OF RECONSIDERATION - ON 04MAR2020 FOR IMPROPER

SERVICE - BRADY VIOLATION AND COMBINE WITH CASE NUMBER

2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0 FROM THE

NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT. At that

time Mr. Cutler used the terminal in the Federal Courthouse to view some dockets.

In case 2: 19-cr-00367 Mr. Cutler noticed the copy of the document (ECF 99) NOW

was properly marked. Based on this Mr. Cutler printed a second copy of the

document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-5262,

03-5314). Mr. Cutler requested the district court cases be consolidated in

Pennsylvania and deliberations allowed on an expedited basis since they both

involve related issues and the Supreme Court previously has indicated they will not

consider the case this term, even though oral arguments were already made. This

court had allowed the House of Representatives to be an Intervenor. The petitioner,

Jeffrey Cutler, acting pro se, respectfully previously identified that the speaker of the

house of representaives, in her official capacity, as the speaker of the House of

Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal


                                       PAGE 44 of 229
 Case: 1:20-cv-00099-SNLJ             Doc. #: 27      Filed: 08/11/21        Page: 45 of 64 PageID #:
                                                    880




employee) left his office at approximately 11 PM and was found dead the next

morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,

neck back and genitals, but the cause of death was drowning as per the Medical

Examiners. The FBI tried to force two Medical Examiners to say the MURDER

was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that

was later classified a suicide during a special arrest, 1 day before he was to testify.

Other individuals have died unexpectedly, possibly of murder including Beran ton

Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler's cousin

Robert Needle, (who died unexpectenly in May 2017) may have previously contacted

Mr. Beran ton Whisenant, who died on or about 25MAY2017. The medical records

of Jonathan Luna have finally resurfaced and are currently trying to be

sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in

public documents that he believes Mr. Luna was murdered by the KLU KLUX

KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 11OCT2001. <ref>
https://www.fox43.com/ article /news/jonathan-luna-murder-mystery-2003/521 -2229b272-9355-43a8-81 63-
506440862577 </ref><ref>

https://lancasteronline.com/news/local/lnp-county-clash-over-newly-discovered-records-in-jonathan-
luna/article 0 1ba656a-483b-1 l ea-86ed-43533b224839 .html </ref><ref>

https://lancasteronline.com /news/local/lancaster-county-judge-gives-prosecutor-days-to-say-why-
jonathan/article 66aa5a86-49ec-11 ea-8d57-37ffa 1b9ed27.html </ref><ref>

https://www.wgal.com/article/newly-discovered-documents-are-related-to-investigation-into-death-of-
federal-prosecutor-jonathan-luna/307837 45 </ref><ref>

https://www.pennlive.com/news/2020/02/re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-
prompts-fight-between-da-news-media.html </ref><ref>



                                               PAGE 45 of 229
 Case: 1:20-cv-00099-SNLJ           Doc. #: 27      Filed: 08/11/21       Page: 46 of 64 PageID #:
                                                  881




https://www.youtube.com/ watch?v=cLAldUHDwj8 </ref> <ref>
https://www.nbcnews.com/news/us-news/disqraced-baltimore-police-officer-says-detective-who-was-killed-
testifyinq-n84483 l

</ref> <ref> https://www .cnn.com/2018/08/29 /us/baltimore-police-detective-sean-suiter-
suicide/index.html </ref>


Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli

Jr.) stated "[N]o one would be hurt and the greater justice would be attained" and

violated (18 USC§ 1001) on 03JAN2019 on page 24 of the filing that was made in

case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of

DLA Piper (Kamala Harris' husband works for this firm and was part of the case

against Mr. Cutler and also filed a motion on this same date against him because he

dared to continue to challenge the ACA. During a speech at the National

Association of Counties' annual Legislative Conference on 9 March 2010, in

Washington D. C. <ref> https://www.youtube.com/watch?v=QV7dDSqbaQO </ref>

she stated "We have to pass the bill to find out what is in it". The petitioner "found

out what was in it" and filed a Prose lawsuit 31DEC2013 in Wasington, DC case

1: 13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari

for the Supreme Court of the United States (15-632) and inserted that same writ in

United States Court of Appeals case 17-2709, page 314A, via district court case

number 2: 17-cv-00984 page 10. Since the individual mandate of the Affordable

Care Act is now null and void based on the rulling of the USCA and the other

provisons of the bill should also be eliminated to preserve the constitution. Mr.

Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of

                                             PAGE 46 o f 229
 Case: 1:20-cv-00099-SNLJ     Doc. #: 27     Filed: 08/11/21   Page: 47 of 64 PageID #:
                                           882




appeal of Mr. Johnson. His lawyer previously made a false statement to the court

in his request to withdraw, based on the documents filed by Mr. Johnson (ECF

100-103) a significant crime (18 USC§ 1001). The current orders of Tom Wolf in

Pennsylvania violate GMP procedures and allows the commonwealth to track

every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef

procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.

Cutler had worked for multiple pharmaceutical and food compnaies including,

HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was

previously in charge of coordinating the Y2K and putting together the contingency

plan for MERCK Inc., West Point site. It is Mr. Cutler's beliefCOVID-19 is

actually an excuse for MASS GENOCIDE against individuals that are deemed

undesirable including Jewish and black Individuals and to discontinue pensions via

MURDER (see <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref>. There is NOW

PROOF THIS IS TRUE, since the PEOPLES REPUBLIC OF CHINA commited

MAIL FRAUD when served documents at their EMABSSY on Washington, DC. ,

thus CONFIRMING CHINA IS RESPONSIBLE FOR THE DEATHS OF 3

MILLION PEOPLE. It is very easy to Bribe, coerce or pay individuals to bear

false witness against another individual and violate THALL SHALL NOT BEAR

FALSE WITNESS and 18 USC § 1001. The orders Thomas Wolf and other leaders

have issued effectively allows the governments in the United States to discontinue




                                     PAGE 47 of 229
 Case: 1:20-cv-00099-SNLJ       Doc. #: 27     Filed: 08/11/21   Page: 48 of 64 PageID #:
                                             883



religion in and in the State of Pennsylvania, by a member of the KLU KLUX

KLAN or related organization. Other members of the KLU KLUX KLAN in the

United States and the World, are all organized to take on the HOAX. This was

previously called Agenda 21. As of 16MAR2020 Canada was still allowing flights

from CHINA and those persons could be carrying hazardous bio material simply

enter the United States from Canada. When Mr. Cutler was working for Merck as a

contractor some individuals were caught stealing trade secrects by security at the
West Point site. It has been known China has been effectively using live people for

transplants for years. Mr. Ellyahoo has stated the word in HUNGARY for SIN is

pronounced VIRUS. The closing of all CASINOS in the STATE is to get 100% of

all gambling revenue, to have a total monopoly on all sources of payment organized

for a complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that

the POST OFFICE near the Allentown Federal Courthouse contains NAZI insigna in

the tile work in the building (supreme court case # 19-8538 ), and there is a 7 acre

site in Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles

has sent a picture via text to Mr. Cutler's of insigna is actually in the Post office tile

across from the courthouse. This all may have a connection of Joe Biden to China and

the transfer of technology to them that has violated the world' s civil rights, except

Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in

the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based

on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which




                                       PAGE 48 of 229
 Case: 1:20-cv-00099-SNLJ        Doc. #: 27     Filed: 08/11/21    Page: 49 of 64 PageID #:
                                              884



should be included by reference these claims are true and correct and the book

Bloody Harvest <ref> https://www.bookdepository.com/Bloody-Harvest-David-Matas/9780980887976
</ref>

Based on Mr. Cutler's experience, Engineering Experience, and the case of Joyce

Gilchrist <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref> persons in Federal

government may have violated the Logan Act Stat. 613, 18 U.S.C. § 953 with

China. Since Mr. Wolfs order is illegal, all the Insurance companies have

conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of

Tom Wolf, just like 2 different insurance companies failed to compensate Mr.

Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail

Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA

insurance department. Mr. Wolfs order also violates the Federal Voting law Voting

Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting

qualification or prerequisite to voting, or standard, practice, or procedure ... in a

manner which results in a denial or abridgement of the right ... to vote on account

of race," color, or language minority status. Based on the recent unsealed pleadings

of Judge Domenick Demuro (press release 20-4 72) , voter fraud has been in

Pennslvania a long time. The use of ABSENTEE ballots that are collected by

individuals denies the minor protection of MAIL FRAUD, usually asociated with

this type of voting. Mr. Cutler has attached a handicap placard Pl5703J renewal that

also may be voter fraud in Philadelphia and Mail Fraud. Since that person never



                                         PAGE49of 229
 Case: 1:20-cv-00099-SNLJ            Doc. #: 27      Filed: 08/11/21        Page: 50 of 64 PageID #:
                                                   885



lived at that adress. Mr. Cutler had formally notified the court of voter fraud in

Pennsylvania as of 13DEC2016 in case# 2: 16-cv-06287. The DOJ announced the

guilty plea of a judge of elections in Philadelphia 2 lMAY2020, the day after Mr

Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY

JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.

Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of

governor Gretchen Witmer' s unlawful act from being persued in federal court case

l:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have

LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &

COVID-19 < ref>https://www.future medicine.com/doi/ l 0.22 I7/fca-2020-0082</ref>. They are called

PNEUMOVAX23 and Prevnarl3 which are the PRIME COMPLICATION TO THE

COVID-19 that result in DEATH from pneumococcal disease <ref>

https://www.diabetes.org/diabetcs/medication-management/tlu-and-pneumonia-shots </ref>. KRISTEN


WELKER' S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based

on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with

COVID-19, as well as one million mink in the Netherlands there is ZERO

evidence that the tigers, Goririllas ever failed to practice social distancing, because

the person would be called LUNCH. HIV has NO VACCINE. This

INVALIDATES ALL THE MODELS being used to justify the restrictions. Mr.

Cutler based on standard engineering concepts the death of Philadelphi Police


                                              PAGE 50 of 229
 Case: 1:20-cv-00099-SNLJ     Doc. #: 27     Filed: 08/11/21   Page: 51 of 64 PageID #:
                                           886




Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Loma Breen,

Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-

2% of all law enforcement in the United States may be members or share their views.

Also some elected Officials and persons in the military all branches. An 8 year old

was raped in Bryant elementary school and his parents were denied the ability to sue

because they waited six months. Based on this the charges against William Henry

Cosby should be vacated. George Soros and other persons similarly situated may be

trying to destroy the United States economy and the Dollar by bad sharing of

information, just like on 25MAYl 979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that

day from Chicago. My friend Daria from Russia, stated that collapse of the dollar

was a stated goal of persons. Even in case, 1:20-cv-01130 that the document legally

filed is RETURNED for failing to file a motion to intervene PRIOR to filing the

actual document, violating equal protection under the law and the United States

Constitution Ammend 5 and Ammend 1 by denying the ability for redress of

grievances. Also based on conflicting death reports, declaring a MURDER a

SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials

with the aid of News Outlets. Previous corruption in the United States based out of

Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in

Illinois during some of this time frame and the joke voting saying was VOTE




                                      PAGE 51 of 229
 Case: 1:20-cv-00099-SNLJ                           Doc. #: 27            Filed: 08/11/21                 Page: 52 of 64 PageID #:
                                                                        887



EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON

NOT TO VOTE <ref> https://en.wikipedia.org/wiki/Operation Greylord </ref>

<ref> https ://www.chicagotribune.com/nation-world/chi-chicagodays-greylord-story-storv.html </ref> <ref>
https://www.latimes.com/archives/la-xpm- l 987- l 2- l 0-mn-28034-story.html </ref> <ref>
https ://fbistud ies.com/wp-content/uploads/20 I7/04/F B1-Grapev ine-Operation-Greylord- Hake. pd f </ref>


It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,

SENTENCED , while the individual that MORDRED Lori Gilbert-Kaye is still

awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

start his SENTENCE for a 55 MILLION DOLLR FRAUD <ref>
https://www.nbcsandiego .com/news/local/rabbi-shot-in-poway-synanogue-attack-pleads-guilty-
to-tax-fraud-docs/2365089 /               </ref> <ref>
https://en.wikipedia.org/wiki/Poway synagogue shooting </ref>


CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS

MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF

BIO-WARF ARE. The attacks on the USS McCain, Fitzgerald, Bonhomme

Richard and effects in TAIWAN are evidence of cooridinated attacks on the

United States which are being hidden from the general population like the civil

case against Nancy Pelosi. China has been bribing CIA employees and others for

years. There is no reason what Joe Biden did should be ignored. <ref>
htips://theh iII.com/pol icy/nationa 1-securi ty/5 123 85- former-cia-o flicer-charged-wi th-sel Ii ng-us-secrets-to-c hina


</ref> <ref> https://www.bbc.com/news/world-us-canada-48319058 </ref>

<ref> https://www.bbc.com/news/world-us-canada-50520636 </ref> <ref>

https://www.nytimes.com/2019 /09 /24/us/china-intelligence-sentence.html </ref>


The Story <ref> https://www.mercurynews.com/2017 /06/ 14/james-hodgkinson-shooting-
facebook-republicans/ </ref>



                                                                PAGE 52 of 229
 Case: 1:20-cv-00099-SNLJ         Doc. #: 27     Filed: 08/11/21      Page: 53 of 64 PageID #:
                                               888




James Hodgkinson may have had KKK support, because he was using SKS rifle

with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER

SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required

loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47

VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND

SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE

BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND

PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the

MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has

been charged. The Employee is Jonathan Luna <ref>

https://en.wikipedia.orq/wiki/Jonathan Luna </ref> and Beranton Whisenant <ref>


https://en.wikipedia.orq/wiki/Beranton Whisenant </ref>, Sean Suiter from the BPD .


<ref> https://blackthen.com/black-mysteries-unsolved-death-jonathan-luna/ <ref>

For Years there has appers to have been a KLU KLUX KLAN serial rapist in

East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and

possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

MURPHY ofWI105 and covered up by the MEDICAL EXAMINER <ref>
https://lancasteronline .com/news/local/da-maintains-autopsy-in-luna-murder-mystery-should-
remain-sealed/article ca83b358-c6de-11 ea-a3eb-67597e2be2cf .html


</ref> <ref> https://redistrictinq.lls.edu/files/PA%20corman%2020 l 80724%20brief .pdf </ref>
East

Lampeter previous LAWSUITS, theft of PROPERTY <ref>



                                           PAGE 53 of 229
 Case: 1:20-cv-00099-SNLJ           Doc. #: 27      Filed: 08/11/21      Page: 54 of 64 PageID #:
                                                  889



https://law.justia.com/cases/federal/district-courts/FSupp2/ 17 /394/2488681 I </ref> $ 540,000
theft

of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE

RELIGIOUS FREEDOM) <ref> https://dockets.justia.com/docket/circuit-courts/ca3/17-
1772


</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the

Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324

page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE
                                                                                \


CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND

CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND

SUMMARY JUDGEMENT in case #1:20-cr-00165 , United States v. Kevin

Clinesmith in Washington DC. The previous document was destroyed by the clerk or

Judge in the case. Watch https://www.youtube.com/watch?v=mgCle8F_zUk for more

information and read comments sorted newest first. Also see <ref>

https://www.americanfreedomlawcenter.org/case/ieffrey-cutler-v-u-s-dept-of-health-

human-services/ </ref> and <ref> https://www.brennancenter.org/legal-work/corman-v-torres


</ref><ref> https://redistricting.lls.edu/files/PA%20corman%2020 l 80724%20brief.pdf </ref><ref>

https://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et al </ref> As an Official


Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the

actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted

effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se

candidate against Thomas Wolf and had an advertisement in the METRO paper on



                                             PAGE 54 of 229
 Case: 1:20-cv-00099-SNLJ        Doc. #: 27     Filed: 08/11/21    Page: 55 of 64 PageID #:
                                              890



24OCT2018 page 15 :titled "SAVE BILL COSBY". The government cannot tell you

how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using

FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just

like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared

UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was

president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>

https://en.wikipedia.orq/wiki/Federal Election Commission#First Amendment issues </ref>
complaint

was filed against [[Youtube ]] for illegal edits of comments as an "IN KIND"

contribution to [[Joe Biden]], [[Nancy Pelosi]] , and MISUSE OF FEDERAL FUNDS

(18 U.S .C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND

ABETTING in concealing the MURDER of [[Jonathan Luna]] <ref>

https://en.wikipedia.orq/wiki/Jonathan Luna </ref> and [[Beranton Whisenant]] <ref>


https://en.wikipedia .orq/wiki/Beranton Whisenant </ref> . This is documented in federal
court

case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[Nancy Pelosi]]

called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On

20MAY2020 at 4: 10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in

USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED

STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL

FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN202 1 filed a

MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL FRAUD


                                         PAG E 55 of 229
 Case: 1:20-cv-00099-SNLJ                     Doc. #: 27          Filed: 08/11/21             Page: 56 of 64 PageID #:
                                                                891




complaints are based on being an INVESTOR in both companies and the ANNUAL

REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other

investors and statements in those reports.

On 11JAN2021 Jeffrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST

TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER

CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S

ACCOUNT IS BANNED FOR LIFE EVEN THOUGH THERE IS TIME

STAMPED PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA,

ORIGINALLY FILED IN FEDERAL COURT 20OCT2020 PAGE 169 OF CASE

20-2936 PAGE 9 OF THE LINK BELOW !!<ref>
https://www.co urtl istener.com/reca p/gov.uscourts. pamd. 127057/gov.uscourts. pamd.1 27057 .18 1.0.pdf </ref>


THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY

RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO

THE CONTRARY. It is almost comical that AMAZON helped RIG VOTING with

expanded MAIL IN BALLOTS, in the election, AMAZON is REQUESTING IN

PERSON voting in a UNION selection vote in COURT DOCUMENTS. ASHLI

BABBITT WAS ACTING AS A CITIZEN JOURNALIST AND SHE HEARD ·

THE CONSPIRACY WITH KKK/ANTIF A around her with the POLICE, and

THAT IS WHY SHE WAS MURDERED!! EVEN IN CHINA THEY

JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER

STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.


                                                         PAG E 56 of 229
 Case: 1:20-cv-00099-SNLJ     Doc. #: 27     Filed: 08/11/21   Page: 57 of 64 PageID #:
                                           892




PER USCA CASE 17-1770 JOE BID EN WASP ART OF A GROUP HELPING TO

SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL

COSBY FOUND OUT. AMAZON FOUNDER JEFFREY BEZOS ENDED

PARLER and WILLFULLY DESTROYED PARLER AND THEIR LAWSUIT

2:2 l-cv-00031 in the Western District of Washington should be fully compensated.

Nancy Pelosi led a vote to IMPEACH DONALD J. TRUMP a second time on

13JAN2021 allowing for no FACTS or EVIDENCE to be provided, and she

conspired with others to insite violence on multple occaisions. Mr. Cutler filed

a 231 page document that is time stamped 2021 JAN 13 P 4:10 in case 20-1422 (the

first 69 pages are attached in the addendum) in the USCA third circuit in

Philadelphia and on page 62 of that document is a letter

from Nancy Pelosi to Ted Wheeler (the mayor of Portland, Oregon) conspiring

to INSITE VIOLENCE AND BLAME TRUMP, with the aid of the media to aid

China engage in biological war fare against the world and weaken the United States.

Despite the RUSH to IMPEACH TRUMP A SECOND TIME , THE ARTICLES

of IMPEACMENT have been sent to the SENATE as of this date. Chuck

Schummer had said on the floor of the Senate it was really for inciting an

ERECTION. Based on the email with an attachment of a letter from Nancy Pelosi

on 10JAN2021 at 5:33 PM, Jeffrey Cutler got an email with a letter to Portland

Mayor by Nancy Pelosi to Ted Wheeler dated August 27, 2020. Jeffrey Cutler



                                      PAGE 57 of 229
 Case: 1:20-cv-00099-SNLJ                  Doc. #: 27        Filed: 08/11/21           Page: 58 of 64 PageID #:
                                                           893



filed it on page 62 of the document he filed in USCA case 20-1422 on 13JAN202 l

AT 4: 10 PM and it also VANISHED, copies were sent to over 200 news outlets. The

Police have also tried to intimidate Mr. Cutler by trying to pick him up for traffic

violations all based on the fruit of the poisonus tree. This case should be moved to

FEDERAL COURT and Combined with this case for Judicial Efficiency. Persons

from stores such as Wegmans, the police in Marple Townsip, and [[FBI]] in

Newtown Square, PA may all be acting in a CONSPIRACY to track Mr. Cutler and

incarcerate him for identifying the previous conspiracy to hide the MURDER of

Jonathan Luna 04DEC1993 and TRY TO TERMINATE THE LIFE OF MR.

CUTLER WITH TRAFFIC CITATION C6598201-l. Vehicle registration was

reported as postponed.

<ref> https://www.pennlive.com/news/2020/05/penndot-extends-deadlines-for-vehicle-registrations-inspections.html </ref>

and vehicle renewal registration was NOT received by mail. Since this case is proof

the BIG LIE is the TRUTH Mr. Cutler also requests that case 1:2 l-cv-00213 and

1:2 l-cv-0040 from the District of Columbia be combined with this case.

Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey

Cutler, formally notifies the court of ongoing criminal acts and conspiracy

involved with this civil rights action and requests the court to notify the DOJ

Office immediately, and any other criminal justice authorities the court deems

necessary, to effect and insure the prompt investigation and prosecution of crimes

involved with this case which includes mail Fraud (18 U.S. Code § 1341), the


                                                    PAGE 58 of 229
 Case: 1:20-cv-00099-SNLJ              Doc. #: 27       Filed: 08/11/21         Page: 59 of 64 PageID #:
                                                      894




murder of a federal employee (18 U.S. Code§ 1114), seditious conspiracy

(18 U.S. Code§ 2184), activiies affecting the armed forces (18 U.S. Code§

2187), Obstruction of Justice, Bank Ruptcy Fraud in case number 19-11466

Philadelphia Accademic Health System and Title 18, Section 871. The

civil rights action is case# 5:19-cv-00834, case# l:20-cv-01130 District Court

Maryland, and 1:l 7-cv-05228 in the Eastern District ofNew York (The State ofNew

York. et al. v. DONALD J. TRUMP, et al.). The courts have affirmed, it must

"afford a liberal reading to a complaint filed by a prose plaintiff," particularly

when the plaintiff has no formal legal training or education. Klayman v.

Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007) ("A document filed prose is to be liberally construed, and a

pro se complaint, however inartfully pleaded, must be held to less stringent

standards than formal pleadings drafted by lawyers.") (internal quotations and

citations omitted). The current election for president may be just like 2 Star Trek

Episodes combined. <ref> https ://en .wikipedia.org/wiki/Bread and Circuses (Star Trek: The Original Series)

</ref> and <ref> https://en.wikipedia .orq/wiki/What Are Little Girls Made Of%3F </ref> and like

the movie <ref> https://en.wikipedia.orq/wiki/Moon over Parader </ref> or the original

unpublished short story entitled "Caviar for His Excellency" by Charles G. Booth

there may be an actor portraying Joe Biden right now. As per Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 589 (2007) the court must accept the foregoing information

as true. In the Addendum is 67 pages of the document filed in case 19-1842 and

                                                 PAGE 59 of 229
 Case: 1:20-cv-00099-SNLJ                 Doc. #: 27       Filed: 08/11/21           Page: 60 of 64 PageID #:
                                                         895




proof Josh Shpiro committed mail FRAUD. THE CLERK's OFFICE OF THE

UNITED STATES COURT OF APPEALS IN PHILADELPHIA IN A

CONSPIRACY WITH OTHERS INCLUDING TIM KENNEY AND THE

DemoNcratic PARTY, violated 18 U.S. Code§ 872 - Extortion by officers or

employees of the United States, AND AIDING AND ABETTONG CONCEALING

THE MURDERS OF TWO BLACK FEDERAL EMPLOYEES (violating 18 U.S.C.

§ 3 Accessory after the Fact MURDER) AUSA JONATHAN LUNA & AUSA

BERANTON WHISENANT PLUS BANKRUPTCY FRAUD 19-11466 (Bankruptcy

of PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN

HOSPITAL) AND MISSING DOCUMENTS CASE 19-1842 FILED 06APR2021

AT 2:34 PM. The murder of Mr.Wright was Wrong. as well as the Murder of

David Kassik by police woman Lisa Mearkle in 2015 and violated his civil

rights<ref> https://news.yahoo.com/princeton-university-policy-political-protests-103048931.html </ref>

Maxine Waters and the MEDIA networks are trying to incite riots so that Marshal

LAW can be declared and all firearms siezed.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests

the MOTION TO COMBINE CASES and moved to FEDERAL COURT in Missouri

case# 1:20-cv-00099 be granted as well as SUMMARY JUDGEMENT, this is

effectively a CHANGE IN VENUE. All votes via DROP BOXES BE STRICKEN

in Pennsylvania and the count be recalculated, and based on Marks v. Stinson,



                                                    PAGE 60 of 229
 Case: 1:20-cv-00099-SNLJ          Doc. #: 27     Filed: 08/11/21     Page: 61 of 64 PageID #:
                                                896



Donald J. Trump be declared the winner <ref> https://www.leagle.com/decision/ 19948921913d8731759

</ref> of the Presidential vote in Pennslvania, and by reference North Carolina,

Wisconsin, Nevada and Arizona.

Mr. Cutler has never met Donald J. Trump, and was not paid or compensated in any

way for this action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting

elected Vice President at the hotel previously known as the Host Farm, but has since

been renamed. Mr. Cutler gave a similar TSHIRT to both Senators from Pennsylvania

Judge Stickman wrote in the case ''but even in an emergency, the authority

of government is not unfettered" in the case of County of Butler v Wolf. This court

should also declare the entire Affordable Care Act (Obamacare) law and the

executive order signed in 1942 as Executive Order 9066 by FDR

UNCONSTITUTIONAL, during an_immediate ENBANC review of this case when

combined with the writ from case 15-632, and the writ filed by the WHITE HOUSE

as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO

PRAY enforced by Religious POLICE, either LOCAL, STATE, or FEDERAL.

The MURDER of a BLACK _man and 15 year old boy should NOT be Considered

MOOT as per order from the Judge ECF 203 and the clerk. This USCA case

number 1:17-cv-05228, 20-3371 , 20-1805, 20-1449, 20-1422, 19-1622, 18-3693,

case number 20-5143 in the USCA DC CIRCUIT SHOULD, 2:21-cv-00031

Northern District of Washington, plus this case and 21-4001 ALL BE

COMBINED FOR JUDICIAL EFFICIENCY and "GOOD TROUBLE" as per John



                                          PAGE 61 of 229
 Case: 1:20-cv-00099-SNLJ           Doc. #: 27      Filed: 08/11/21       Page: 62 of 64 PageID #:
                                                  897



Lewis and stop 5171 years of persecution of Jewish Individuals. Not GETTING

EXPOSED IN A LIE IS NOT THE SAME AS TELLING THE TRUTH!!!

ASHLI BABBITT MURDER WAS THE START OF KRISTALNAHT in the

UNITED STATES <ref> bttps://en.wiki pedi a.org/wiki/N ight_of_the_Long_Kni ves </ref>"

YOU CAN DESTROY THE EVIDENCE, BUT YOU CANNOT DESTROY THE

TRUTH. At least Four different federal courts have conspired to deny Mr. Cutler the

right to Petition the government for redress of grievances as part of the FIRST

AMENDMENT, in conjunction with the media, elected and non-elected officials

Based on payments inside and outside the United States. IMPEACHING ANYONE

should demand the FULL ATTENTION OF THE COURTS AND THE

CONSTITUTION, and there should be NO SHORTCUTS ALLOWED, if the

chief judge of the Supreme Court or a Judge of the Supreme court does not preside

in his place then the entire activity is fraud on the court. Just because the Biden

Election has not been exposed as a LIE, IT IS NOT THE SAME AS TELLING

THE TRUTH (Para Phrase from 3 Days of the Condor). YOU CAN DESTROY

THE EVIDENCE, BUT YOU CANNOT DESTROY THE TRUTH, on Jerusalem

Day <ref> https://en.wikipedia.org/wiki/Jeru salem Day </ref>. 03JUN is celebrated as a part of

history in large part of the United States as the birthday of Jefferson Davis and
Edward

Cutler thought it was nice that his birthday was a special part of history, and his son

files this document to honor his father, and his brother Irv. Irv was killed in a B24



                                             PAGE 62 of 229
Case: 1:20-cv-00099-SNLJ       Doc. #: 27     Filed: 08/11/21   Page: 63 of 64 PageID #:
                                            898



13JUL1942. On 03JUN2021 Edward Cutler would have been 100, ifhe was still

alive, it is also the birthday of Jill Biden. This document should be inserted and

combined with the previous document and replace the first 72 pages that document.

On 17JUN1856 the REPUBLICAN party held it's FIRST CONVENTION in

PHILADELPHIA. In the previous document filed onl 7JUL2021.

Page 254 is PROOF OF BRADY VIOLATION AGAINST BILL COSBY
Page 411 is PROOF OF BIO WARFARE.
Page 412 is PROOF OF ELECTORAL FRAUD
Page 414 is PROOF JOSH SHAPIRO WAS NOTIFIED OF FRAUD.




                                      PAGE 63 of 229
 Case: 1:20-cv-00099-SNLJ                Doc. #: 27        Filed: 08/11/21              Page: 64 of 64 PageID #:
                                                         899




Respectfully submitted,


DATE:_-----=.,09_,_A=U-=-G=20=2...,__1- - - -                    / s/ Jeffrey Cu tler

                                                            Jeffrey Cutler, prose
                                                            215-872-5715 (phone)
                                                            eltaxcollector@qma ii .com
                                                            P.O. Box 2806
                                                            York, PA 17405

                                    CERTIFICATE OF SERVICE

                                                I hereby certify that on August 09, 2021 , I filed the
                                                foregoing with the Clerk of the UNITED STA TES
                                                DISTRICT COURT OF THE EASTERN
                                                DISTRICT OF MISSOURI, SOUTHEASTERN
                                                DIVISION by Mail or in person. Participants in the
                                                case who are registered CM/ECF users will be
                                                served by the appellate CM/ECF system. I further
                                                certify that all of the other participants or their
                                                lawyers in this case are registered CMIECF users
                                                except as follows and they are served by mail or
                                                email.


                                                     Isl Jeffrey Cutler
                                                Jeffrey Cutler




                                                    PAGE 64 of 229
